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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

IGNACIO RAMOS, JR.,                                §
     Movant,                                       §
                                                   §
                                                                 EP-10-CV-108-KC
v.                                                 §
                                                                 EP-05-CR-856-KC-1
                                                   §
UNITED STATES OF AMERICA,                          §
     Respondent.                                   §

                          MEMORANDUM OPINION AND ORDER

       In a motion to vacate, set aside, or correct a sentence, pursuant to 28 U.S.C. § 2255 [ECF

No. 291],1 former United States Border Patrol Agent Ignacio Ramos, Jr. (“Movant”), challenges

his convictions for assault with a dangerous weapon, assault with serious bodily injury, discharge

of a firearm in relation to a crime of violence, and the deprivation of rights under color of law. In

his motion, Movant claims he was denied due process when the Government failed to disclose an

investigator’s report, due process when the Government introduced the false testimony of a

witness during trial, the effective assistance of counsel before and during his trial, due process by

virtue of the Fifth Circuit Court of Appeals’ failure to address the prejudicial spillover from the

vacated obstruction of justice counts, and the right to a fair trial as a result of the cumulative

errors committed during his trial. In its response [ECF No. 296], the United States of America

(“the Government”) argues that Movant’s claims are without merit. After reviewing the record,

including Movant’s reply to the Government’s response [ECF No. 299]—and for the reasons

discussed below—the Court concludes that Movant has failed to establish his entitlement to

relief. Accordingly, the Court will deny his motion and dismiss his civil cause with prejudice.

Additionally, the Court will deny Movant a certificate of appealability.

       1
         “ECF No.” in this context refers to the Electronic Case Filing number for documents docketed
in EP-05-CR-856-KC-1.
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I.     FACTUAL AND PROCEDURAL HISTORY

       A.        The Incident

       On February 17, 2005, Border Patrol Agents Ignacio Ramos (“Movant”) and Jose

Compean (“Agent Compean”) were engaged in routine law enforcement activities along the

United States-Mexico border near Fabens, Texas, when they gave chase to a van traveling at a

high speed toward the Mexican border. After the driver abandoned his van and ran toward the

Mexican border on foot, the agents followed him, fired their weapons at him and wounded him

once, but did not prevent his escape into Mexico. After the incident, the two agents cleaned up

the area of spent shells and did not report the weapon-firing incident to their supervisor, as

required by well-established Border Patrol policies.

       On February 28, 2005, Border Patrol Agent Rene Sanchez (“Agent Rene Sanchez”), then

stationed in Wilcox, Arizona, received a telephone call from his mother-in-law, Gregoria

Toquinto (“Toquinto”). She claimed a Border Patrol agent had shot her friend’s son, Oswaldo

Aldrete-Davila (“Aldrete”), in the back while trying to evade apprehension. Agent Rene Sanchez

asked Toquinto to take a cell phone into Mexico so that he could speak directly to Aldrete.

During their telephone conversation, Aldrete reported that on February 17, 2005, at the Rio

Grande River near Fabens, Texas, a Border Patrol agent shot him in the back while he tried to


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escape to Mexico.

       Agent Rene Sanchez mentioned the shooting to his supervisor. The supervisor instructed

him to gather more facts. Agent Rene Sanchez checked the Border Patrol Enforcement Tracking

System, but found no record of a shooting in February. He also re-interviewed Aldrete and

learned that Aldrete still had the bullet in his body. Agent Rene Sanchez and his supervisor both

submitted memoranda concerning their investigation to the Department of Homeland Security.

       Special Agent Christopher Sanchez (“Special Agent Christopher Sanchez”) at the

Department of Homeland Security’s Inspector General’s Office received copies of the

memoranda regarding the shooting incident. He contacted a Border Patrol agent who explained

to him that—according to Border Patrol policy—any discharge of a weapon must be reported to a

supervisor within one hour. The Border Patrol agent added that there were no reports of a

shooting by a Border Patrol agent on February 17, 2005. Special Agent Christopher Sanchez

next obtained a copy of the recorded radio traffic for that day from the Fabens area, but he found

nothing to indicate a shooting had occurred. He also compiled a list of the agents from the

Fabens station on duty that day.

       Special Agent Christopher Sanchez spoke with a truck driver who towed a van seized

near Fabens on the day of the reported shooting. The truck driver took him to the exact spot

where he found the van near the Rio Grande River. Special Agent Christopher Sanchez returned

to the site with a metal detector in an unsuccessful attempt to find shell casings. Agents trained

and certified to find evidence examined the area two days later. They looked by the levee,

drainage ditch, and vega—the Spanish word for a strip of fertile flat land in a river bottom—near

the Rio Grande River, but they did not find any shell casings.

       Aldrete was reluctant to speak to Special Agent Christopher Sanchez until a prosecutor

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provided a letter granting him limited use immunity, and Special Agent Christopher Sanchez

gave him assurances the Government would not prosecute him for the incidents which occurred

on February 17, 2005. Special Agent Christopher Sanchez spoke to Aldrete at the American

consulate in Ciudad Juárez, Chihuahua, Mexico. Aldrete walked into the consulate on crutches

carrying a large urine bag attached to a catheter.

       Special Agent Christopher Sanchez arranged to have doctors at the William Beaumont

Army Medical Center in El Paso, Texas, examine Aldrete. Special Agent Christopher Sanchez

stood in the operating room as the doctors removed a bullet from Aldrete’s body and took

custody of it for ballistics tests. He also collected Border Patrol issued service firearms—Baretta

.40 caliber semi-automatic pistols—from each of the agents on duty at the Fabens station on

February 17, 2005. Forensics experts determined the bullet removed from Aldrete’s body

matched a bullet fired from the service firearm of Movant.

       B.      The Indictment

       After hearing this evidence, a grand jury sitting in the Western District of Texas, El Paso

Division, returned a third superseding indictment charging Movant with seven offenses. The

alleged offenses included assault with the intent to commit murder and aiding and abetting, in

violation of 18 U.S.C. §§ 2, 7(3), and 113(a)(1) (“count one”); assault with a dangerous weapon

and aiding and abetting, in violation of 18 U.S.C. §§ 2, 7(3), and 113(a)(3) (“count two”); assault

with serious bodily injury and aiding and abetting, in violation of 18 U.S.C. §§ 2, 7(3), and

113(a)(6) (“count three”); discharge of a firearm in relation to a crime of violence, in violation of

18 U.S.C. § 924(c)(1)(A)(iii) (“count four”); tampering with an official proceeding by

obstructing and impeding a contemporaneous investigation surrounding the shooting, in violation

of 18 U.S.C. § 1512(c)(2) (“count eight”); tampering with an official proceeding by failing to

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report the discharge of his firearm, in violation of 18 U.S.C. § 1512(c)(1) (“count nine”); and the

deprivation of rights under color of law, in violation of 18 U.S.C. § 242 (“count twelve”).

       C.        The Trial

                 1.      Summary

       At Movant’s trial,2 the Government presented evidence showing that Aldrete had

abandoned his van near the Rio Grande River, that he was running on foot back toward Mexico,

that he posed no physical threat to Movant or others, and that he was shot in the buttocks. “It is

well established that the Fourth Amendment to the United States Constitution does not permit

officers to shoot a fleeing suspect unless the suspect poses a threat to the physical safety of the

officers or to the public.”3 Accordingly, the Government argued that because Aldrete was

running away from the Border Patrol agents toward the border with Mexico, Movant had no

reason to shoot him. Movant asserted the evidence supported a much different conclusion.

Movant testified that he saw a “shiny object” in Aldrete’s left hand which appeared to be a

weapon, that the situation was tense, and that he felt in danger. Thus, Movant argued that he

acted as a reasonable officer in pursuit of a possibly dangerous drug smuggler, and that firing his

weapon was justified. After hearing the evidence, a unanimous jury rejected Movant’s

arguments and found him guilty of all the charged offenses except count one, assault with the

intent to commit murder.

                 2.      Aldrete’s Testimony




       2
          References to the record on appeal and supplemental record are designated by the number of
the record volume or supplemental record volume followed by “R.” or “S.R.” and the pertinent page
number(s). References to the a Government Exhibit are “G. Ex” followed by the number(s).
       3
           United States v. Ramos, 537 F.3d 439, 442 (5th Cir. 2008).

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       Aldrete, who testified pursuant to a grant of immunity co-extensive with use immunity

under 18 U.S.C. §§ 6002 and 6003, explained that on February 17, 2005, drug dealers recruited

him to deliver a van full of drugs within the United States for a fee of between $1,000 and

$1,500.4 He admitted the recruiters told him he was delivering drugs.5 Aldrete explained he

could see the van parked in the United States from his vantage point on the Mexican side of the

Rio Grande River.6 He said he waded across the river and walked to the van.7 He claimed the

van contained keys, large bundles, and a cell phone.8

       Aldrete further testified that as he drove the van towards Fabens, he observed a marked

Border Patrol vehicle.9 He explained that when the Border Patrol vehicle started following him,

he decided to save himself by driving to the Rio Grande River and crossing back into Mexico.10

Aldrete said he then noticed a second Border Patrol vehicle following him.11 He admitted he

ignored the posted speed limits and turned down a dirt road to an irrigation ditch.12

       Aldrete testified that after a five-minute chase, he skidded to a stop at the rim of an




       4
           23 R. 152, 159, 165.
       5
           23 R. 159.
       6
           23 R. 158–60.
       7
           Id.
       8
           23 R. 161, 164, 193, 198.
       9
           23 R. 72, 171.
       10
            23 R. 75, 173–75.
       11
            23 R. 76.
       12
            23 R. 78, 82.

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irrigation ditch and became stuck in the dirt.13 He explained that south of the irrigation ditch was

a levee with an elevated road, then the vega, and finally the Rio Grande River separating the

United States from Mexico.14 According to Aldrete, the distance from the levee road to the river

was approximately 230 feet.15

       Aldrete said he got out of the van, entered the irrigation ditch, and, as he was running up

the far side of the ditch, was blocked by a Border Patrol agent later identified as Agent Compean,

the co-defendant in the instant criminal case.16 Aldrete claimed Agent Compean was pointing a

rifle at him.17 He further claimed he stopped and raised his hands.18 According to Aldrete, Agent

Compean said, “Stop, you shit Mexican.”19 Aldrete said he told Agent Compean, “Take it easy

man. Don’t hit me.”20 Aldrete claimed Agent Compean took a full swing at him with the rifle,

but missed, lost his balance, fell, and Aldrete ran away into the vega without looking back.21

Aldrete testified that as he was running through the vega, heading for the river, he realized the

Border Patrol agents were shooting at him.22 Aldrete related that he fell, noticed a burning



       13
            23 R. 83, 86–88.
       14
            23 R. 84–86, 92, 95.
       15
            26 R. 145.
       16
            23 R. 101.
       17
            23 R. 105.
       18
            23 R. 189.
       19
            23 R. 106.
       20
            Id.
       21
            23 R. 107, 110–12.
       22
            23 R. 113.

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sensation in his left buttock, touched his buttock with his hand, and, when he looked at his hand,

saw it was covered with blood.23 Aldrete claimed he was on the ground, near the edge of the

river, waiting for the Border Patrol agents to come and arrest him.24 He added when the Border

Patrol agents did not come, he got up and crossed the river back into Mexico.25

                  3.     Medical Testimony

       Urologist Todd Miller testified his examination of Aldrete’s body revealed that it

contained a number of bullet fragments, that his urethra was no longer intact, and that he could

not have surgery to put his urethra back into working condition at that time.26 Orthopedic

surgeon Winston Warme explained that bullet fragments caused Aldrete’s injuries.27 He testified

that a bullet entered Aldrete’s body through his left buttocks.28 Based on the bullet’s trajectory

inside Aldrete, the doctor opined the person shooting would have been straight behind him or

behind him at some angle.29

                  4.     Agent Juarez’s Testimony

       Border Patrol Agent Oscar Juarez (“Agent Juarez”) testified that on February 17, 2005, he

was in his patrol unit, driving by himself on the levee, when he heard a radio transmission from




       23
            23 R. 115, 122.
       24
            Id.
       25
            23 R. 125, 133.
       26
            24 R. 185, 187–89, 201, 202.
       27
            25 R. 187–88.
       28
            25 R. 189.
       29
            25 R. 199–200.

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Agent Compean to be on the lookout for a blue minivan.30 He said he left the levee to try to

locate the van.31 Agent Juarez explained he spotted a gray van that he believed could have been

the subject of the alert.32 He added he activated his emergency lights and followed the van,

planning to make a stop for an immigration check.33 The van did not, however, stop.34 Agent

Juarez said Movant joined the chase, and took over the high-speed pursuit.35

       According to Agent Juarez’s testimony, agents are required to notify their supervisor and

obtain approval before engaging in a high-speed chase.36 He added the agents chasing the van

did not ask for authorization to pursue it.37 Agent Juarez conceded it was unsafe to drive fast, but

he claimed, in this case, he did not see anyone endangered by the chase.38

       Agent Juarez said his chase ended when he hit his brakes and his vehicle slid up to the

top of a canal or irrigation ditch.39 He explained Movant had already parked next to the van and

had left his door open.40 According to Agent Juarez, he saw Agent Compean standing on the



       30
            24 R. 139, 142–43, 151.
       31
            24 R. 149–50.
       32
            24 R. 151–52; 25 R. 51.
       33
            24 R. 158–60; 25 R. 54, 62.
       34
            24 R. 160.
       35
            24 R. 163–64; 25 R. 61.
       36
            24 R. 165; 25 R. 65.
       37
            25 R. 10.
       38
            24 R. 165; 25 R. 72.
       39
            24 R. 169–70.
       40
            24 R. 166; 25 R. 29.

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levee road on the other side of the canal holding a shotgun.41 Agent Juarez testified that as he

exited his vehicle and walked toward the ditch, he noticed the driver of the van in the ditch.42

When the driver of the van saw Agent Juarez, he quickly ran across the ditch.43 Agent Juarez

explained he did not pull his weapon because he did not feel threatened.44 Agent Juarez said he

observed Agent Compean move in front of the van driver’s path and raise the butt of his

weapon.45 According to Agent Juarez, Agent Compean took a full swing at the driver of the van

with the shotgun.46 Agent Juarez added the van driver’s hands were raised in the air at the time,

and he saw nothing in them.47 Agent Juarez testified that Agent Compean missed the driver of

the van, lost his balance, hit the ground, and dropped the shotgun.48 Agent Juarez observed as

Agent Compean got up and ran after the driver fleeing over the levee.49 Agent Juarez testified

that at no time did he see the driver of the van throw any dirt at Agent Compean.50 He further

claimed he never saw the driver of the van touch Agent Compean.51 Agent Juarez testified that



       41
            24 R. 170–72; 25 R. 12.
       42
            24 R. 172–73.
       43
            24 R. 173, 175; 25 R. 12–13.
       44
            24 R. 173.
       45
            24 R. 174; 25 R. 137.
       46
            24 R. 175.
       47
            24 R. 175; 25 R. 120, 155.
       48
            24 R. 176–77.
       49
            24 R. 177–78; 25 R. 94.
       50
            24 R. 178.
       51
            Id.

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after van driver ran away from Agent Compean, he heard gunshots as he walked back toward his

vehicle.52 He said he turned and saw Agent Compean shooting south toward Mexico.53

       Agent Juarez testified that after Agent Compean discharged at least eleven rounds of

ammunition from a clip and reloaded his weapon, he proceeded into the vega.54 Agent Juarez

said he did not draw his own weapon because he did not feel there was a threat as the driver of

the van was almost in Mexico.55 Agent Juarez claimed he never heard Agent Compean or

anyone else say “stop” as the driver of the van was fleeing.56 Agent Juarez said he watched

Agent Compean and Movant return from the direction of the vega, but they did not mention that

the driver of the van had a gun or held a shiny object.57

                  5.        Agent Vasquez’s Testimony

       Border Patrol Agent Arturo Vasquez (“Agent Vasquez”) testified that on February 17,

2005, he heard radio calls from Agent Compean.58 Later, he observed a gray van drive by at over

fifty miles per hour followed by two patrol units.59 Agent Vasquez explained that he gave chase

and when he arrived at the river, he saw Agent Juarez standing at the edge of the ditch within a




       52
            25 R. 15, 123.
       53
            25 R. 25.
       54
            25 R. 19, 23, 111.
       55
            25 R. 22.
       56
            Id.
       57
            25 R. 24–25.
       58
            2nd S.R. 185.
       59
            2nd S.R. 185, 190–93.

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few feet of a van.60 He said although the windows of his vehicle were rolled up, he heard

multiple gunshots.61 He added when he got out and asked about the location of the other agents,

Agent Juarez indicated that they were in the vega.62 Agent Vasquez said that as he drove away

from the scene to go back to his assigned area, he saw Agent Compean’s vehicle approaching.63

According to Agent Vasquez, Agent Compean stopped, exited his vehicle, and walked to the

driver’s side of Agent Vasquez’s vehicle. Agent Vasquez testified that when he asked Agent

Compean what happened, Agent Compean replied, “Well, that little bitch took me to the ground

and threw dirt on my face.”64 When Agent Vasquez said he thought he heard some gunshots,

Agent Compean responded, “Well, I had to fire some rounds. I went through a magazine

exchange, and then I fired some additional rounds”65

       Agent Vasquez testified he received a radio message to return to the location of the

abandoned van.66 He added Agent Compean overheard the message and asked him to look for

additional casings.67 Although Agent Vasquez admitted he agreed to pick up the casings, he

added he knew he was required by Border Patrol policy to leave the casings in place for the




       60
            2nd S.R. 194–95.
       61
            Id.
       62
            2nd S.R. 197–98.
       63
            2nd S.R. 208–10, 232.
       64
            2nd S.R. 211.
       65
            2nd S.R. 211, 272.
       66
            2nd S.R. 213, 215.
       67
            2nd S.R. 215, 279.

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evidence team.68 On cross-examination, Agent Vasquez acknowledged that he believed it was a

crime to destroy evidence.69

         Agent Vasquez explained that he returned to the levee near where the abandoned van was

parked and found five casings, picked them up, and threw them into the drainage canal.70 Agent

Vasquez said he went with Special Agent Christopher Sanchez to the site about one month later

and showed him where he had found the casings.71 Agent Vasquez further testified that on

February 17, 2005, he called Agent Compean on his personal cell phone to let him know that he

had found the casings and thrown them away.72 Agent Vasquez’ cell phone records confirmed

this call.73

                    6.        Supervisory Agent Richard’s Testimony

         Border Patrol Supervisory Agent Jonathan Richards (“Supervisory Agent Richards”), the

Border Patrol’s field operations supervisor for the Fabens Station, testified that on February 17,

2005, while in his office in the station, he heard Agent Compean call out that he had a vehicle

leaving an area at a high rate of speed.74 He ordered Supervisory Agent Robert Arnold

(“Supervisory Agent Arnold”) “to respond to that area.”75 He explained that because he did not


         68
              2nd S.R. 216, 284.
         69
              2nd S.R. 275.
         70
              2nd S.R. 221, 223.
         71
              2nd S.R. 218–20.
         72
              2nd S.R. 223–24.
         73
              Id.
         74
              26 R. 184, 191.
         75
              26 R. 191.

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hear further radio traffic, he attempted to contact some of the agents to try to find out what was

going on.76 He said he proceeded to the location where he understood his agents had seized

contraband.77 He explained he did not receive a request to conduct a “hot pursuit.”78 Supervisory

Agent Richards testified that when he asked Movant if everything was okay, Movant responded

that it was.79 Movant also reported that the van driver fled through the canal, and “Agent

Compean tried to grab him, or did some type of side to side movement to grab him, and fell

down to the ground and got dirt in his eyes.”80 Supervisory Agent Richards said he called out to

Agent Compean, asking if he was okay, and Agent Compean said he was.81 Supervisory Agent

Richards said that the agents “needed to put this stuff over the radio and the repeater, and let us

know what’s going on.”82 He explained he did not call the sector evidence team because he was

not aware that there had been a shooting.83 Back at the station, Supervisory Agent Richards

added he asked Agent Compean on two occasions if he had been assaulted, and Agent Compean

responded, “no.”84 Supervisory Agent Richards claimed he first learned of shooting on March




       76
            26 R. 188, 192–93.
       77
            26 R. 195.
       78
            26 R. 197.
       79
            26 R. 210.
       80
            26 R. 211.
       81
            26 R. 212.
       82
            26 R. 214–15.
       83
            26 R. 224–26.
       84
            26 R. 217.

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23, 2005, when he was interviewed by Special Agent Christopher Sanchez.85

                 7.        Supervisory Agent Arnold’s Testimony

       Supervisory Agent Arnold testified that on February 17, 2005, after he heard radio traffic

concerning a van, Supervisory Agent Richards directed him to “go out and see what was going

on.”86 He explained he initially “took off in the wrong direction,”87 but arrived at the location of

the abandoned van just after Supervisory Agent Richards.88 He further testified that when he

arrived, all of the agents were looking at sacks of marijuana inside the van.89 Back at the station,

he overheard Supervisory Agent Richards ask Agent Compean if he was “okay” and “did

anything happen,” and Compean responded he was “okay” and “[n]othing happened.”90 He

added Compean did not say that he had struggled with a suspect or had shot at anyone.91

Supervisory Agent Arnold maintained the first time he learned that a firearm had been discharged

on February 17, 2005, was in March from Supervisory Agent Robinson.92

                 8.        Agent Jacquez’s Testimony

       Border Patrol Agent David Jacquez (“Agent Jacquez”) testified that on February 17,

2005, he was patrolling east of the Fabens Port of Entry when he heard Agent Compean’s calls


       85
            26 R. 239–41.
       86
            27 R. 62, 66
       87
            27 R. 68.
       88
            27 R. 72.
       89
            27 R. 73.
       90
            27 R. 77.
       91
            27 R. 77.
       92
            27 R. 77.

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on the radio.93 He said he proceeded to the Rio Grande River where he saw Movant and Agent

Compean walking on top of the levee.94 He claimed Movant told his supervisor and the other

agents that the driver of the van had gotten into a physical altercation with Agent Compean, and

that Movant had gone after him.95 He added that no one spoke at the scene about seeing a gun or

of a shooting.96 Agent Jacquez testified that after he returned to the station, Agent Vasquez told

him Agent Compean had fired some shots.97 Agent Jacquez said when he asked Agent Compean

what had happened, Agent Compean explained “when the driver got down into the drainage

ditch, that he told the driver to stop and the driver never stopped. And that he tried to hit him

with the shotgun.”98 Agent Jacquez said he understood from Agent Compean’s account that he

had missed when he was swinging the shotgun and had slipped into the drainage ditch.99 Agent

Compean did not tell Agent Jacquez that he was in fear for his life trying to apprehend the fleeing

driver, or that he had an altercation with the driver, or that the driver assaulted him.100 Agent

Compean also did not tell Agent Jacquez that he thought the driver had a gun, or that he saw a

shiny object in the driver’s hand.101 Agent Compean admitted to Agent Jacquez “that he shot at



       93
            26 R. 67–68, 81.
       94
            26 R. 69, 71.
       95
            26 R. 73.
       96
            26 R. 69–70.
       97
            26 R. 75.
       98
            26 R. 76.
       99
            26 R. 76–77.
       100
             26 R. 79.
       101
             26 R. 80.

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the driver of the van,” and then “chased after the driver.”102

                   9.        Agent Yrigoyen’s Testimony

        Border Patrol Agent Lorenzo Yrigoyen (“Agent Yrigoyen”) testified that on February 17,

2005, he heard Agent Compean’s radio calls and Movant’s transmission that a van was headed

southbound towards Mexico.103 Agent Yrigoyen said he drove on the levee road with his partner

and observed Agent Compean and Movant standing together.104 Agent Yrigoyen said after he

exited his vehicle, his partner pointed out an individual in the agricultural fields in Mexico.105

Agent Yrigoyen testified he saw a white car pull up and a person get out to assist an individual

crossing the field.106

                   10.       Agent Mendoza’s Testimony

        Border Patrol Agent Jose Luis Mendoza (“Agent Mendoza”) testified that on February

17, 2005, he heard Agent Compean’s radio call to watch for a van, and also Movant’s message,

on local radio traffic, that he had a visual on the van as it made a U-turn and headed back south,

towards Agent Mendoza’s position.107 Agent Mendoza said he saw the van race by followed

closely by two patrol units.108 Agent Mendoza followed the vehicles to the drainage ditch, and




        102
              26 R. 77–78.
        103
              26 R. 124, 127.
        104
              26 R. 128–30.
        105
              26 R. 134–35.
        106
              26 R. 139.
        107
              26 R. 14–15.
        108
              26 R. 17–19.

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parked behind the other units.109 He overheard Agent Vasquez say something about a shotgun on

the ground, but no one at the scene mentioned a shooting.110

        Agent Mendoza said he assumed the van driver had fled, and Agents Compean and

Movant had tried to apprehend him.111 He recalled that either Agent Compean or Movant said

that someone on the Mexican side of the river had picked up the van driver, but neither

mentioned shooting at the driver.112 According to Agent Mendoza, after they arrived back at the

station, he noticed Agent Compean—who was sitting at a computer filling out a drug seizure

form—had a small amount of blood on his chin.113 When Agent Mendoza asked what happened,

Agent Compean replied “he . . . slipped on the levee while trying to apprehend the driver.”114

Agent Mendoza added Agent Compean never claimed the fleeing person tried to assault him or

threw dirt in his eyes.115

                   11.        Special Agent Christopher Sanchez’s Testimony

        Special Agent Christopher Sanchez testified Agent Compean waived his Miranda rights

after his arrest. Agent Compean explained on the date of the incident, he recalled standing at the

edge of a canal with a shotgun in his hands when he saw the driver of the van, later identified as




        109
              26 R. 21.
        110
              26 R. 22, 24.
        111
              26 R. 28.
        112
              26 R. 28.
        113
              26 R. 31–32.
        114
              26 R. 33.
        115
              26 R. 34.

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Aldrete, coming up the south side of the ditch.116 Compean claimed he told Aldrete, in Spanish,

to stop and put his hands up.117 Agent Compean admitted that the driver raised his hands, but

when other agents arrived, he heard someone yell, “hit him, hit him.”118 Agent Compean

responded by “attempt[ing] to push Aldrete into the drainage ditch” with the butt of his

shotgun.119 Agent Compean then explained that “[w]hen he was maneuvering to push Aldrete

back . . . he slipped into the drainage ditch.”120 He added that “when he slipped, Aldrete-Davila

ran around him and over the levee.”121 Agent Compean explained “he recovered from slipping

into the drainage ditch and ran after Mr. Davila,” going “over the levee, and he . . . [j]umped on

the back of Aldrete-Davila, and they rolled into the south slope of the levee into the vega, and

they wrestled.”122 Then, according to Agent Compean’s oral statement, “Aldrete-Davila might

have thrown dirt in his eyes,” but according to his written statement, he said he just thought he

“got dirt” in his eyes.123 Agent Compean claimed “Aldrete-Davila broke free from his grasp and

began to run toward Mexico.”124 Agent Compean said that when Aldrete broke free, “he did not




       116
             28 R. 24–25.
       117
             Id.
       118
             28 R. 27.
       119
             28 R. 28.
       120
             28 R. 30.
       121
             28 R. 30.
       122
             28 R. 31.
       123
             28 R. 32–33, 42.
       124
             28 R. 33.

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observe any weapons [in his] hands or anything.”125 His post-arrest account further explained

that, as Aldrete was running toward Mexico, Agent Compean “observed something shiny” in

Aldrete-Davila’s left hand “which he thought was a gun, and that’s why he started firing.”126

Agent Compean added, however, “he was never certain that Aldrete-Davila had a gun.”127 Also,

Compean never alleged the “shiny object” was pointed at him.128 He claimed he first saw the

shiny object while he was in the vega.129

       Special Agent Christopher Sanchez also testified that Aldrete was right-handed, and that

he used his right hand in writing and reaching for items.130 Further, Aldrete had told him, “I did

not have a gun or anything shiny in my hand, and I’m righthanded.”131

       Agent Compean admitted to Special Agent Christopher Sanchez he shot at Aldrete “10 or

11 times,” and “he stopped shooting at Aldrete-Davila just before he reached the bank of the Rio

Grande River.”132 Agent Compean told Special Agent Christopher Sanchez that from his vantage

point in the middle of the vega, he saw “Aldrete-Davila come up on the south side of the river,

on the Mexican vega.”133 Compean confessed he “observed Aldrete-Davila limping and assumed



       125
             28 R. 33.
       126
             28 R. 33–34.
       127
             28 R. 36.
       128
             28 R. 34.
       129
             28 R. 34.
       130
             28 R. 34–35.
       131
             28 R. 57–58.
       132
             28 R. 37.
       133
             28 R. 36–37.

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he had been shot,” and that was when “he went back to the levee, to pick up his casings on the

levee.”134 Agent Compean did not say he retrieved his casings in the vega, where he alleged he

did the shooting. Agent Compean also admitted to Special Agent Christopher Sanchez that while

he was exiting the levee, he said to Agent Vasquez, “I didn’t pick up all the casings, can you go

back and pick up some of the casings?”135 Agent Compean reported that “Vasquez called him at

the station and told him that he had picked up the casings and threw them in the drainage

ditch.”136 Agent Compean confessed to Special Agent Christopher Sanchez that he did not report

that he discharged his firearm because, “I thought I would get in trouble”137 Finally, Agent

Compean admitted in his written statement that when he shot at Aldrete, he shot to kill.138

       Special Agent Christopher Sanchez also testified that, based on his analysis of the

incident, the shooting occurred on United States Government property which “starts at the foot of

the north slope of the levee” and “goes to the middle of [the] Rio Grande.”139

                   12.      Agent Compean’s Testimony

       Agent Compean testified at trial that Aldrete initially “put his hands up” while in the

ditch.140 He characterized his use of the shotgun as an attempt to “push” the van driver back into




       134
             28 R. 36–38
       135
             28 R. 40.
       136
             28 R. 41.
       137
             Id.
       138
             28 R. 41-42.
       139
             24 R. 93-94.
       140
             29 R. 154.

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the ditch.141 Agent Compean related that “[w]hen he was maneuvering to push Aldrete-Davila

back into the drainage ditch . . . he slipped into the drainage ditch.”142 He stated that “when he

slipped, Aldrete-Davila ran around him and over the levee.”143 After the van driver ran away,

Agent Compean claimed he got up, caught up with the fleeing driver, and tackled him.144 Agent

Compean testified that the driver then threw dirt in his face and got away.145 Agent Compean

asserted that as the driver ran toward the levee, he turned around and pointed something both

shiny and black at him.146 In response, Agent Compean claims he drew his weapon, and, firing

from one knee, shot off ten to eleven rounds.147

       Agent Compean claimed he withdrew the magazine from his weapon and attempted to

make a magazine change, but he had trouble getting the replacement magazine out of his belt.148

He said he did not see Movant pass his position, and, as he tried to reload, he heard another

shot.149 According to Agent Compean, Movant did not come back to his location, he walked up

to Movant.150 As they walked back toward their vehicles, Agent Compean admitted he picked up



       141
             29 R. 158.
       142
             28 R. 30.
       143
             Id.
       144
             29 R. 156, 159–60.
       145
             29 R. 160–61.
       146
             29 R. 161–62.
       147
             29 R. 162–63.
       148
             29 R. 163.
       149
             29 R. 163–64.
       150
             29 R. 164.

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his shell casings and tossed them into the ditch.151 Compean explained “I just wasn’t thinking. I

just—I just saw them, and picked them up”152 Further, Agent Compean admitted he did not

report that he had fired his weapon when he saw Supervisory Agent Richards.153 Agent Compean

testified, “I was afraid he wasn’t going to believe me,” as they did not have a suspect and there

was “nobody to, I guess, corroborate what had happened or what had occurred.”154

                   13.       Agent Ramos’s Testimony

       Movant testified that on February 17, 2005, he joined in the pursuit of a van.155 Although

he suspected the van was involved with illegal drugs, he did not know whether the driver had

committed a felony.156 When the van stopped before the river, he saw the driver jump out of the

van and into the ditch.157 Movant drew his service weapon, and watched the driver “make a

move” around Agent Compean.158 According to Movant, the driver’s “move” was not a

threatening gesture.159 In fact, Movant agreed he did not see the driver do anything

threatening.160 Movant claimed that after the driver ran away, he moved through the ditch to



       151
             29 R. 165–66.
       152
             29 R. 165.
       153
             29 R. 168–69.
       154
             Id.
       155
             29 R. 29.
       156
             28 R. 27, 32.
       157
             28 R. 184-85; 29 R. 41.
       158
             28 R. 189; 29 R. 52, 56.
       159
             29 R. 52-53.
       160
             29 R. 53.

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assist Agent Compean, although he agreed that he was not concerned that the van driver would

hurt anyone.161 Movant claimed he heard shots while in the ditch, but did not hear any further

shots after he emerged from the ditch.162 Thus, he did not see Agent Compean shoot his

weapon.163 Although Movant was a former firearms instructor familiar with the sound of a

service .40 caliber Baretta, he testified he could not tell if he heard a different weapon firing.164

Movant said when he reached the top of the canal, he saw Agent Compean on the ground,

and—thinking that Agent Compean might have been shot—ran past him and yelled for the driver

to stop.165 According to Movant, as the driver ran toward the river, he turned, and Movant saw a

“shiny object” in his left hand.166 He responded with one shot at the driver.167 Movant said he

did not see the driver go down.168 Movant said he turned around and went back to Agent

Compean to check on his condition.169 Although Agent Compean acknowledged picking up shell

casings as they walked back together, Movant testified that he did not see Agent Compean

recover any casings.170



        161
              29 R. 54.
       162
              28 R. 206; 29 R. 62.
        163
              29 R. 62.
        164
              29 R. 5, 19, 63.
        165
              28 R. 207; 29 R. 68.
        166
              28 R. 208-09; 29 R. 72.
        167
              Id.
        168
              28 R. 208–11.
        169
              28 R. 213.
        170
              29 R. 64.

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       Movant claimed he reported to his supervisors, but admitted he failed to mention that he

had discharged his firearm.171 As a former firearms instructor, Movant acknowledged the

incident was a “reportable shooting.”172 He agreed that if he had reported the shooting, agents

would have secured the scene, the sector evidence team would collected evidence, his firearm

would have been taken from him, and a thick report would have been generated.173 When asked

why he did not report the shooting, Movant testified, “I just messed up.”174 Movant then asserted

that he assumed someone else reported the shooting.175 He agreed, however, that if someone else

had reported the shooting, his supervisor would have been asking him questions about the

incident, which the supervisor never did.176

                   14.   The Verdict and Sentence

       After hearing the evidence, a unanimous jury rejected Movant’s arguments and found him

guilty of all the charged offenses except count one, assault with the intent to commit murder.

The Court polled each juror individually, confirming the unanimity of the verdict. The Court

later sentenced Movant to imprisonment for twelve months and one day on each of counts two,

three, eight, nine, and twelve, all to be served concurrently, and one hundred twenty months as to

count four, to be served consecutively to the above counts; terms of supervised release for three

years, all to be served concurrently; a fine of $2,000; and a special assessment of $600. The


       171
             29 R. 82.
       172
             29 R. 84.
       173
             29 R. 82, 85–86, 106.
       174
             29 R. 82.
       175
             29 R. 83.
       176
             Id.

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lengthy aggregate sentence imposed on Movant—eleven years and a day—resulted from his

conviction for discharging a firearm in relation to a crime of violence, in violation of 18 U.S.C. §

924(c)(1)(A)(iii). Congress directed a mandatory minimum sentence of ten years for all

defendants convicted under this statute. Once the jury found Movant guilty of assault, the Court

had no discretion but to impose at least a ten year sentence. Thus, the sentence in this case

reflected the mandatory ten year minimum for the violation of § 924(c), and one year and a day

and two years, respectively, for the remaining convictions.

       Movant filed a timely notice of appeal

       D.         The Appeal177

       Movant raised fourteen points of error in his direct appeal. He claimed the Court

improperly precluded him from introducing relevant evidence concerning the value and amount

of drugs discovered in the van and Aldrete’s alleged drug-trafficking activities after the shooting

incident. Movant argued that barring him from presenting this evidence denied him his Sixth

Amendment right to a complete defense. Movant also challenged his conviction under the

firearm statute, 18 U.S.C. § 924(c)(1)(A). He raised both Due Process and Equal Protection

challenges, while also claiming that the indictment was flawed in charging him with this crime.

He complained the Government produced evidence showing that he violated a number of Border

Patrol policies in pursuing and firing upon Aldrete. Movant characterized his trial as one in

which the Government substituted Border Patrol policies for the actual crimes charged, and, by

permitting evidence that established policies were violated and strict rules were broken, the Court

had allowed the Government to avoid the more difficult task of showing that he had engaged in



       177
             United States v. Ramos, 537 F.3d 439 (5th Cir. 2008).

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criminal conduct. Movant noted the indictment charged him under 18 U.S.C. § 1512(c) with

tampering with an official proceeding by failing to report the shooting to his supervisors. He

argued on a number of grounds that such a failure to act constituted neither tampering with

evidence nor inhibiting an official proceeding. Finally, he repeatedly challenged the jury’s

verdict which rejected his version of the events. He argued that—as a law enforcement

officer—he was justified in shooting Aldrete because of the threat he thought Aldrete posed. He

further argued he was entitled to this justification defense even if he was reasonably mistaken in

his perception of that threat. He also argued that his rights in this respect were not adequately

included in the jury instructions. Movant’s theory that he was justified in shooting Aldrete also

animated his last argument. He asserted that there was not sufficient evidence to convict him for

the substantive criminal offense related to discharging his firearm precisely because he was

acting in accord with his duties as a law enforcement officer.

       The Fifth Circuit Court of Appeals held the Court’s exclusion of the specific weight and

size of the marijuana load in the van driven by Aldrete did not violate Movant’s Sixth

Amendment rights. It noted the record showed Movant made specific arguments to the jury

based on the large size of the load itself, and Aldrete’s possible motives. Thus, the specific

weight and value of the marijuana load would have added little more to the case of the defense

and reasonably could be seen as cumulative. Further, the exclusion of evidence of Aldrete’s

alleged involvement in a subsequent drug-trafficking incident, based on his invocation of the

Fifth Amendment, did not violate Movant’s Sixth Amendment rights to confrontation. The

Court of Appeals explained Aldrete’s immunity agreement was both facially and by nature not

coextensive with the Fifth Amendment, and the Court, therefore, did not err in allowing Aldrete

to assert his rights under the Fifth Amendment as to the subsequent drug-trafficking incident.

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Moreover, the probative value of evidence of Aldrete’s subsequent drug activity was

substantially outweighed by the danger of unfair prejudice, confusion of the issues and

misleading the jury, and by considerations of undue delay and waste of time. The Court of

Appeals also held Movant had fair warning that the statute prohibiting the use of a firearm during

and in relation to a crime of violence was applicable to him. It noted cases in the

circuit—including United States v. Williams, 343 F.3d 423 (5th Cir. 2003), and United States v.

Winters 105 F.3d 200 (5th Cir. 1997)—permitted the application of § 924(c)(1)(A) to police

officers. Moreover, the indictment’s use of the term “discharges” instead of the statutory word

“uses” was sufficient to charge Movant with the crime of using or carrying a firearm in

furtherance of a crime of violence. The Fifth Circuit agreed the Border Patrol’s internal

investigation of alleged employee misconduct by failing to follow the agency’s established

policies concerning firearms was not “an official proceeding” within the meaning of the statute

prohibiting obstruction of justice. Finally, the Court of Appeals concluded the evidence was

sufficient to support convictions for assault and violating Aldrete’s civil rights. As the Fifth

Circuit summarized:

           The defendants’ argument here is one to which they repeatedly return: they
           were justified in firing upon Aldrete-Davila. But, once again, we must
           remind the defendants that the jury did not believe the defendants’ testimony
           that Aldrete-Davila possessed an object in his hand. Aldrete-Davila’s own
           testimony, the behavior of the defendants after the shooting, and the
           inconsistent testimony offered by both defendants and other Border Patrol
           agents allowed the jury to conclude that the defendants faced no credible
           threat and, consequently, there was no justification for their firing upon
           Aldrete-Davila. Although disputed, the evidence, taken in the light most
           favorable to the jury verdict, supports the scenario that Aldrete-Davila fled
           toward the Mexican border after Compean took a swing at him with his
           shotgun and that, while he was in flight, the defendants without provocation



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              fired their weapons at him several times.178

Accordingly, the Court of Appeals affirmed the convictions for counts one, two, three, four, and

twelve. However, it reversed and vacated the convictions for counts eight and nine—obstruction

of justice under § 1512(c)—because it concluded the Border Patrol investigation was not an

“official proceeding” within the meaning of the statute. The Fifth Circuit then remanded the case

for re-sentencing not inconsistent with this opinion.

       The Fifth Circuit denied Movant’s motion for rehearing on September 10, 2008. On

November 13, 2008, the Court re-sentenced Movant to imprisonment for twelve months and one

day on each of counts two, three, and twelve, all to be served concurrently, and one hundred

twenty months as to count four, to be served consecutively to the above counts; terms of

supervised release for three years, all to be served concurrently; a fine of $2,000; and a special

assessment of $400. On January 19, 2009, President George W. Bush commuted the remaining

portion of Movant’s term of incarceration as to count four—discharging a firearm in relation to a

crime of violence—effective March 20, 2009.

       E.        The Motion to Vacate, Set Aside, or Correct a Sentence

       In his instant motion, Movant asserts five grounds for relief. First, he claims he was

denied due process when the Government failed to disclose a report prepared by Special Agent

Christopher Sanchez. Second, he asserts he was denied due process when the Government

introduced the false testimony of Agent Vasquez during trial. Third, he maintains his counsel

provided constitutionally ineffective assistance before and during his trial. Fourth, he avers he

was denied due process by virtue of the Fifth Circuit Court of Appeals’ failure to address the



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             Ramos, 537 F.3d at 466.

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prejudicial spillover from the vacated obstruction of justice counts. Finally, he argues he was

denied the right to a fair trial as a result of the cumulative errors committed during his trial.

II.     LEGAL STANDARD

        After a defendant has been convicted and exhausted or waived any right to appeal, a court

is normally “entitled to presume that the defendant stands fairly and finally convicted.”179

Accordingly, “‘[r]elief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional

rights and for a narrow range of injuries that could not have been raised on direct appeal and

would, if condoned, result in a complete miscarriage of justice.’”180 Typically, before a court will

grant relief pursuant to § 2255, the movant must establish that “(1) his sentence was imposed in

violation of the Constitution or laws of the United States, (2) the sentencing court was without

jurisdiction to impose the sentence, (3) the sentence was in excess of the maximum authorized by

law, or (4) the sentence is otherwise subject to collateral attack.”181

        Ultimately, the movant bears the burden of establishing his claims of error by a

preponderance of the evidence.182 A court may deny a § 2255 motion, however, if “the files and

records of the case conclusively show that the prisoner is entitled to no relief.”183 When a court


        179
           United States v. Willis, 273 F.3d 592, 595 (5th Cir. 2001) (citing United States v. Frady, 456
U.S. 152, 164 (1982)).
        180
           United States v. Gaudet, 81 F.3d 585, 589 (5th Cir. 1996) (quoting United States v. Segler, 37
F.3d 1131, 1133 (5th Cir. 1994)).
        181
              United States v. Seyfert, 67 F.3d 544, 546 (5th Cir. 1995) (citations omitted).
        182
              Wright v. United States, 624 F.2d 557, 558 (5th Cir. 1980).
        183
             28 U.S.C.A. § 2255(b) (West 2011); see also United States v. Drummond, 910 F.2d 284, 285
(5th Cir. 1990) (“Faced squarely with the question, we now confirm that § 2255 requires only conclusive
evidence–and not necessarily direct evidence–that a defendant is entitled to no relief under § 2255 before
the district court can deny the motion without a hearing.”).

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finds that the movant is entitled to relief, it “shall vacate and set the judgment aside and shall

discharge the prisoner or resentence him or grant a new trial or correct the sentence as may

appear appropriate.”184 Thus, the Court has “‘broad and flexible power’ . . . ‘to fashion an

appropriate remedy.’”185

        Moreover, a collateral challenge to a conviction or sentence should not serve as a

substitute for a direct appeal.186 When raising issues of jurisdictional or constitutional magnitude

for the first time in a motion seeking collateral relief, a movant must either (1) demonstrate

“cause” for not raising the issue on direct appeal and “actual prejudice” resulting from the error,

or (2) show that he is “actually innocent” of the crime for which he was convicted.187 The cause-

and-actual-prejudice standard is “significantly more rigorous than even the plain error standard . .

. applied on direct appeal.”188 If the movant does not meet either burden, then he is procedurally

barred from attacking his conviction or sentence.189 This procedural bar does not apply, however,

to claims which could not have been raised on direct appeal, such as those alleging ineffective


        184
              28 U.S.C.A. § 2255(b).
        185
            United States v. Stitt, 552 F.3d 345, 355 (4th Cir. 2008) (quoting United States v. Hillary, 106
F.3d 1170, 1171 (4th Cir. 1997); see also Andrews v. United States, 373 U.S. 334, 339 (1963) (“[T]he
provisions of the statute make clear that in appropriate cases a § 2255 proceeding can also be utilized to
provide a . . . flexible remedy.”); United States v. Torres-Otero, 232 F.3d 24, 30 (1st Cir. 2000) (“As an
initial matter, we note the broad leeway traditionally afforded district courts in the exercise of their
§ 2255 authority. . . . This is so because a district court’s power under § 2255 ‘is derived from the
equitable nature of habeas corpus relief.’”) (quoting United States v. Handa, 122 F.3d 690, 691 (9th Cir.
1997)).
        186
              Frady, 456 U.S. at 165; United States v. Shaid, 937 F.2d 228, 231 (5th Cir. 1991).
        187
              United States v. Torres, 163 F.3d 909, 911 (5th Cir. 1999).
        188
              Gaudet, 81 F.3d at 589.
        189
              United States v. Drobny, 955 F.2d 990, 994–95 (5th Cir. 1992).

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assistance of counsel.190

        With these principles in mind, the Court turns to the merits of Movant’s claims.

III.    ANALYSIS

        A.         Failure to Disclose Report by Special Agent Christopher Sanchez

                   1.       The Claim

        Movant maintains the Government failed to provide the defense with a copy of Special

Agent Christopher Sanchez’s April 12, 2005, report on the shooting incident, as required by

Brady v. Maryland191 or the Jencks Act.192 Brady requires the Government, pursuant to the due

process clause, to disclose to the defense evidence that is favorable to the accused and material to

his guilt.193 Such evidence includes impeachment evidence.194 The Jencks Act requires that the

Government disclose prior recorded witness statements in its possession relating to the subject

matter of that witness’s testimony.195

        Special Agent Christopher Sanchez’s report says in relevant part:

               Investigation disclosed that the following [Border Patrol] agents were at the


        190
            See United States v. Pierce, 959 F.2d 1297, 1301 (5th Cir. 1992) (stating that the general rule
in the Fifth Circuit is that, except in rare instances where the record on direct appeal is adequate to
evaluate such a challenge, an ineffective assistance of counsel claim cannot be resolved on direct appeal
because no opportunity existed for the parties to develop the record on the merits of the allegations).
        191
              373 U.S. 83 (1963).
        192
              18 U.S.C.A. § 3500 (West 2011).
        193
              United States v. Bailey, 473 U.S. 667, 674 (1985).
        194
              Id. at 676.
        195
              18 U.S.C.A. § 3500.

                                                     -33-
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              location of the shooting incident, assisted in destroying evidence of the
              shooting, and/or knew/heard about the shooting: Oscar Juarez; Arturo
              Vasquez; Jose Mendoza; David Jaquez; Lance Medrano; Lorenzo Yrigoyen;
              Rene Mendez; Robert Arnold; and Jonathan Richards.


              Investigation disclosed that none of the above agents, to include Compean
              and Ramos, reported the shooting or the subsequent cover up when Compean
              and Vasquez picked up the expended brass cartridges (i.e., evidence of the
              shooting) and threw them away.196


       Movant asserts his counsel first saw the report long after his trial concluded. He argues

this evidence contradicted and rebutted the Government’s theory of the case—which the

prosecutors argued at length to the jury—that Movant’s failure to report the shooting to his

supervisors could only have been motivated by his knowledge of his own guilt. He continues

that if his supervisors, Supervisory Agents Richards and Arnold, knew of the shooting—or even

if Movant was justified in assuming they knew about it—then the Government’s strongest

argument for his guilt would have been severely undercut, if not eliminated altogether.

                  2.      Procedural Default

       “Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional rights and

for a narrow range of injuries that could not have been raised on direct appeal and would, if

condoned, result in a complete miscarriage of justice.”197 Accordingly, “[a] defendant . . . may

not raise an issue for the first time on collateral review without showing both “cause” for his

procedural default, and “actual prejudice” resulting from the error.”198 To establish “cause,” a


       196
             Mot. to Vacate 21.
       197
             United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (per curiam) (citations omitted).
       198
             Shaid, 937 F.2d at 232.

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defendant must show some external impediment prevented him from raising the claim on direct

appeal.199 In order to meet the “actual prejudice” test, he must demonstrate not just the

possibility of prejudice, “but an actual and substantial disadvantage, infecting his entire trial with

error of constitutional dimension.”200

        Movant’s trial co-counsel, Stephen Peters (“Peters”), states in an affidavit:

               On February 8, 2007, I became aware through a news media report of a
               memorandum dated April 12, 2005. A copy of the memorandum, which I
               retrieved on February 8, 2007, over the Internet from the news outfit that
               reported it, namely, World Net Daily. Com, and a copy of which I attach to
               this Affidavit, contains the following two paragraphs, set forth herein
               verbatim [quoting the above paragraphs] . . .201


        Movant filed his appellate brief for his direct appeal to the Fifth Circuit on May 21,

2007.202 This filing occurred more than three months after Peters read the report on the Internet.

Thus, by either consulting with Peters or examining Internet news reports, Movant’s appellate

counsel could have known of Special Agent Christopher Sanchez’s report months before he filed

Movant’s appellate brief. Movant could have raised the Brady and Jencks issues—the same

issues he raised in his § 2255 motion—in his direct appeal.

        Movant counters the Fifth Circuit notified his appellate counsel by e-mail on February 22,

2007, “that the appellate record was available to be ‘checked out’ from the Fifth Circuit” and his



        199
              United States v. Flores, 981 F.2d 231, 235 (5th Cir. 1993).
        200
              Shaid, 937 F.2d at 233.
        201
              Id. Ex. 1 (Aff. of Stephen G. Peters).
        202
           See Fifth Circuit docket sheet No. 06-51489 (Appellant’s Brief filed by Appellant Ignacio
Ramos, filed May 21, 2007).

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appellate counsel “did not discover that trial counsel had learned of the suppressed report until

after the Fifth Circuit had finalized Ramos’[s] direct appeal.”203 Moreover, Movant claims he

could not have supplemented the record, and the Government’s threshold argument is without

merit. Accordingly, the Court finds Movant may have had cause for not raising the issue on

direct appeal, and will address the merits of his claims.

                   3.      Legal Standard

        Few constitutional principles are more firmly established than the rule that “‘the

suppression by the prosecution of evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or to punishment, irrespective of the good

faith or bad faith of the prosecution.’”204 The prosecution’s duty to disclose evidence material to

either guilt or punishment—the rule announced in Brady—applies even when the accused has

not requested the evidence.205 Under clearly established Supreme Court precedent, there are

three elements to a Brady claim: (1) the evidence must be favorable to the accused, either

because it is exculpatory or because it is impeaching; (2) the evidence must have been suppressed

by the State, either willfully or inadvertently; and (3) the evidence must be “material.”206

Evidence is “material” under Brady where there exists a “reasonable probability” that had the

evidence been disclosed the result at trial would have been different.207


        203
              Movant’s Reply 7.
        204
              Banks v. Dretke, 540 U.S. 668, 691 (2004).
        205
          Id. at 690; Strickler v. Greene, 527 U.S. 263, 280 (1999); United States v. Agurs, 427 U.S. 97,
107 (1976).
        206
              Banks, 540 U.S. at 691; Strickler v. Greene, 527 U.S. at 281–82.
        207
              Banks, 540 U.S. at 698–99

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       The Jencks Act requires the Government to disclose prior recorded witness statements in

its possession relating to the subject matter of that witness’s testimony.208 “Unless a

nondisclosure was harmless error, reversal is required even where the prosecution has acted in

good faith.”209 Thus, the failure to produce Jencks Act material is subject to harmless error

analysis.210 The reviewing court must “determine whether the error itself had a substantial

influence on the judgment in addition to determining whether there was sufficient evidence to

support the conviction.”211

                   4.     The Merits

       Contrary to Movant’s claim, the first paragraph of Special Agent Sanchez’s report does

not clearly assert that Movant’s supervisors—Supervisory Agents Arnold and Richards—knew

of the shooting incident. The first paragraph uses the term “and/or.” “Bryan A. Garner reports in

A Dictionary of Modern Legal Usage 56 (2d ed.1995), that . . . the expression, while ‘undeniably

clumsy, does have a specific meaning ( x and/or y = x or y or both).’”212 Based on the “and/or”

language, it merely indicates Supervisory Agents Arnold and Richards were at the location of the

shooting incident, and/or assisted in destroying evidence, and/or knew about the shooting.

Further, the second paragraph of the report establishes that “none” of the agents reported the

shooting. Supervisory Agent Richards testified he first learned of shooting when he was



       208
             18 U.S.C.A. § 3500.
       209
             United States v. McKenzie, 768 F.2d 602, 609 (5th Cir. 1985).
       210
             United States v. Montgomery, 210 F.3d 446, 451 (5th Cir. 2000).
       211
             Id.
       212
             Hess v. Hartford Life & Accident Ins. Co., 274 F.3d 456, 463 (7th Cir. 2001).

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interviewed by Special Agent Chris Sanchez on March 23, 2005.213 Supervisory Agent Arnold

testified the first time he was informed that a firearm had been discharged was in March.214

Thus, Supervisory Agents Arnold and Richards, who clearly arrived after the shooting, did not

receive a report of the shooting and did not know or hear about the shooting. This testimony was

consistent with one of the disjunctive propositions in the first paragraph of the report—being

present at the location of the shooting incident—and the proposition of the second

paragraph—that “none” of the agents reported the shooting. Further, Agent Compean admitted

he did not report that he had fired his weapon when he saw Supervisory Agent Richards.215

Agent Compean testified, “I was afraid he wasn’t going to believe me,” as they did not have a

suspect and there was “nobody to, I guess, corroborate what had happened or what had

occurred.”216 Moreover, Movant claimed he reported to his supervisors after the incident, but

admitted he failed to mention that he had discharged his firearm.217 As a former firearms

instructor, Movant acknowledged the incident was a “reportable shooting.”218 He agreed that if

he had reported the shooting, agents would have secured the scene, the sector evidence team

would have collected evidence, his firearm would have been taken from him, and a thick report

would have been generated.219 When asked why he did not report the shooting, Movant testified,


       213
             26 R. 239–41.
       214
             27 R. 77.
       215
             29 R. 168–69.
       216
             Id.
       217
             29 R. 82.
       218
             29 R. 84.
       219
             29 R. 82, 85–86, 106.

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“I just messed up.”220 Movant then asserted that he assumed someone else reported the

shooting.221 He agreed, however, that if someone else had reported the shooting, his supervisor

would have been asking him questions about the incident, which he never did.222

       Movant is not entitled to relief on his claim that the Government failed to provide the

defense with a copy of Special Agent Christopher Sanchez’s April 12, 2005. As previously

stated, Contrary to Movant’s claim, the first paragraph of Special Agent Sanchez’s report does

not clearly assert that Movant’s supervisor knew of the shooting. Furthermore, the information

contained in the Sanchez report was not favorable to Movant, did not provide any basis for

impeachment, and there is not a reasonable probability that—had the evidence been

disclosed—the result at trial would have been different. Moreover, there was substantial

evidence to support the conviction. Thus, Movant’s argument fails under Brady.

       B.          False Testimony of Agent Arturo Vasquez

                   1.    The Claim

       Movant asserts the prosecution’s creation of and knowing elicitation of false testimony by

Agent Vasquez denied Movant his due process rights. He explains Agent Vasquez testified for

the Government. On direct examination, Agent Vasquez claimed that on February 17, 2005, he

heard “radio traffic from Agent Compean that there was a van traveling north . . . at a high rate of

speed.”223 The prosecutor did not ask whether Agent Vasquez had heard Agent Compean


       220
             29 R. 82.
       221
             29 R. 83.
       222
             Id.
       223
             Mot. to Vacate 25 (quoting 2 S.R. #185).

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broadcast “10-46,” a code indicating Agent Compean suspected the van was involved in

narcotics trafficking. On cross-examination, Movant’ counsel asked Agent Vasquez if he

recalled a broadcast that a 10-46 was in process. Vasquez first said that Agent Compean had not

called out a 10-46. When confronted with his prior statement, dated March 18, 2005, however,

Agent Vasquez admitted that his statement, given to Special Agent Christopher Sanchez, did in

fact reflect that he had heard a 10-46 broadcast by Agent Compean. He explained that he had

gone back and listened to the agency tapes of the radio traffic before the trial, but the 10-46 call

was not on the tapes. Accordingly, Vasquez testified at trial that his statement of March 18,

2005, was inaccurate regarding the 10-46 call. The Government stood silent during the

cross-examination of Agent Vasquez about the 10-46 broadcast.

       In testimony given at an arbitration hearing on September 16, 2008, Agent Vasquez

testified that a prosecutor coached him not to claim he heard a “possible 10-46 in progress”

because it was not recorded on agency tapes. Agent Vasquez then said he stood by his March 18,

2005, statement that he heard a “possible 10-46 in progress” on February 17, 2005.

       Movant argues the Government undermined his defense with Agent Vasquez’s “false”

testimony, as he believes this information was critical to the facts surrounding the

reasonableness of his shooting Aldrete:

           The broadcast of a 10-46 creates reasonable suspicion (in the legal sense) and
           then coupled with the failure of the van to stop and the actions of the van in
           attempting to elude being stopped by Ramos and other agents, equate with
           probable cause to believe a felony was being committed. Probable cause to
           believe a felon was attempting to elude being stopped would add to the
           totality of the facts surrounding the reasonableness of Ramos and Compean’s
           actions on the day in question.
                                           *...*...*...*...*


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               By ensuring that Vasquez did not acknowledge the 10-46 which they knew
               he had in fact heard, the Government undermined Ramos’[s] defense by
               inferentially allowing the testimony of Compean and Ramos to go
               uncorroborated by any other agent involved in the events of February 17,
               2005.”224


                   2.      Legal Standard

        Due process is violated when the Government knowingly elicits, or fails to correct,

materially false statements from its witnesses.225 To merit relief on this basis, a movant must

show (1) the statements at issue are actually false, (2) the prosecution knew the statements were

false, and (3) the statements were material.226 The falseness of testimony is not, however,

established simply by pointing to contradictory testimony from witnesses, inconsistencies within

a witness’s testimony, or a conflict between reports, written statements and the trial testimony of

witnesses. Such matters simply go to the credibility of the witness.227

        Additionally, prosecutorial misconduct may constitute a denial of due process if the trial




        224
              Id. 29, 31–32.
        225
              United States v. Martinez-Mercado, 888 F.2d 1484, 1492 (5th Cir. 1989).
        226
           Kutzner v. Johnson, 242 F.3d 605, 609 (5th Cir. 2001); United States v. Haese, 162 F.3d 359,
365 (5th Cir. 1998).
        227
             See Koch v. Puckett, 907 F.2d 524, 531 (5th Cir. 1990) (“Such contradictory trial testimony,
however, merely establishes a credibility question for the jury.”); Martinez-Mercado, 888 F.2d at 1492
(“The omission of certain facts from the reports and written statements of the prosecution’s witnesses,
alone, is certainly not adequate to put the prosecution on notice of perjury on their part, much less to
establish that such perjury in fact occurred.”); United States v. Viera, 819 F.2d 498, 502 (5th Cir. 1987)
(“Appellant’s counsel was certainly free to investigate the inconsistencies between King’s pre-trial and
his in-trial testimony. Absent a belief that his witness was perjuring himself, however, the prosecution
was not obliged to make the defense counsel’s credibility arguments for him.”).

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was rendered fundamentally unfair as a result.228 A trial is fundamentally unfair if there is a

reasonable probability the verdict might have been different had the trial been properly

conducted.229

                   3.      The Merits

        As noted above, before a court will grant relief on the basis of the prosecution knowingly

using false evidence or perjured testimony, the movant must first prove the contested statements

were actually false.230 Agent Vasquez’s testimony on direct and cross examination established

that he made a written statement saying he believed he had heard Agent Compean broadcast a

possible 10-46 in progress on February 17, 2005. After listening to the agency tapes at the

request of the prosecutor, however, he noted the 10-46 call was not recorded, and he thought he

may have been mistaken. Nevertheless, based on Agent Compean’s call—and based on the

notorious nature of the area from which the van was observed leaving at high speed—Agent

Vasquez left his post to help Agent Compean chase a van which Agent Vasquez suspected was

carrying drugs. Mere inconsistencies between a witness’ trial testimony and his prior statements

do not in themselves establish that the testimony is false; such inconsistencies “can as easily be




        228
            See Darden v. Wainwright, 477 U.S. 168, 181 (1986) (“The relevant question is whether the
prosecutors’ comments ‘so infected the trial with unfairness as to make the resulting conviction a denial
of due process.’ Moreover, the appropriate standard of review for such a claim on writ of habeas corpus
is ‘the narrow one of due process, and not the broad exercise of supervisory power.’”) (citations omitted);
Ables v. Scott, 73 F.3d 591, 592 n. 2 (5th Cir. 1996) (“In habeas corpus proceedings, we review allegedly
improper prosecutorial statements made during a state trial to determine whether they ‘so infected the
trial with unfairness as to make the resulting conviction a denial of due process.’”).
        229
           Styron v. Johnson, 262 F.3d 438, 454 (5th Cir. 2001); Barrientes v. Johnson, 221 F.3d 741,
753 (5th Cir. 2000).
        230
              Kutzner, 242 F.3d at 609.

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explained as the result of faulty recollections.”231 Therefore, in this case, there is no proof that

Agent Vasquez’s testimony was actually false.

        The next element the movant must establish is that the alleged false statement was

material. Perjured testimony is material “if there is any reasonable likelihood that the false

testimony could have affected the judgment of the jury.”232 According to Movant, whether Agent

Compean broadcasted a possible 10-46 in progress was important because such a report, if

issued, would have afforded him knowledge of a suspected narcotics transaction which, in turn,

would have supported his use of deadly force. This contention is meritless for two reasons.

First, as the Fifth Circuit explained in its opinion on Movant’s direct appeal, the reasons for the

vehicle chase were not significantly relevant to the question of whether it was objectively

reasonable for Movant to shoot Aldrete while he was running away, on foot, toward Mexico.233

Further, the record contained plenty of evidence of the large load of marijuana Aldrete carried in

the van. Thus, Movant was free to argue—and did argue—that the jury should consider

Aldrete’s motives to flee, to protect his investment, and to avoid prosecution for his crime, in

determining the issue of whether Aldrete likely possessed and brandished a gun, thereby

justifying Movant’s use of deadly force. Thus, Movant has failed to establish the materiality

element since he has not established any reasonable likelihood that testimony regarding a 10-46

call could have affected the judgment of the jury.

        231
              Washington, 44 F.3d at 1282.
        232
              Creel v. Johnson, 162 F.3d 385, 391 (5th Cir.1998) (citations and internal quotation marks
omitted).
        233
           Ramos, 537 F.3d at 456 n.12 (“A suspect who poses no physical threat while fleeing to reach
the Mexican border does not present the tense situation and uncertainty that justifies the use of deadly
force. This point was resolved by the jury against the agents.”).

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        Finally, as to the third element, due process is not implicated by the prosecution’s

introduction or allowance of false or perjured testimony unless the prosecution actually knew or

believed the testimony was false or perjured; it is not enough that the testimony was challenged

by another witness or was inconsistent with prior statements.234 Movant has failed to establish

that the prosecution knew that Agent Vasquez ‘s testimony that he may have been mistaken as to

hearing a 10-46 call was false. First, the fact that a 10-46 call was not recorded means either that

Agent Compean did not include the code in his transmission or he used the code while his

transmitter remained in local mode. In any event, because it was not recorded, the existence of a

10-46 call by Agent Compean cannot be definitively demonstrated by objective evidence.

Moreover, Supervisory Agent Richards testified that Agent Compean reported he saw a vehicle

leaving at a high rare of speed, not that Agent Compean broadcast a possible 10-46 in progress

call. More significantly, Agent Compean failed to state in his Report Of Apprehension Or

Seizure—executed only hours after the event—that he had made a 10-46 call, casting doubt as to

his memory or his veracity. Movant has not established that Agent Vasquez heard a possible

10-46 call. Accordingly, Movant cannot establish the prosecution knew that Agent Vasquez’s

testimony was false.

        Movant has failed to demonstrate that (1) the contested statements were actually false, (2)

that they were material, and (3) that the prosecution knew of the falsity. He is not entitled to

relief on this claim.




        234
          Kutzner, 242 F.3d at 609; Koch v. Puckett, 907 F.2d 524, 531 (5th Cir. 1990); United States v.
Sutherland, 656 F.2d 1181, 1203 (5th Cir. 1981).

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        C.       Ineffective Assistance of Counsel

                 1.       The Claims

        Movant alleges ten instances he believes constitute constitutionally ineffective assistance

of his trial counsel:

             •        Agent Ramos’s trial counsel rendered deficient, prejudicial
                      performance by failing to conduct appropriate legal research and file
                      a motion to dismiss the obstruction of justice counts.
             •        Agent Ramos’s trial counsel rendered deficient, prejudicial
                      performance by failing to conduct appropriate legal research and file
                      a motion to dismiss counts one to four and twelve—the non-
                      obstruction of justice counts.
                      •      Research would have revealed a meritorious motion regarding
                             Davila’s connections with the United States sufficient to deny
                             him any Fourth Amendment protections, thereby justifying
                             dismissal of all of the non-obstruction of justice counts.
                      •      Research would have revealed a meritorious motion that 18
                             U.S.C. § 242, as applied to Agent Ramos, violated Ramos’s
                             Fifth Amendment rights to fair warning even assuming, for
                             purposes of the motion, that Davila did not in fact have a gun
                             in his hand when he turned around towards Agent Ramos.
             •        Agent Ramos’s trial counsel rendered deficient, prejudicial
                      performance by failing to conduct appropriate legal research and file
                      a motion to dismiss count four of the indictment.
             •        Agent Ramos’s trial counsel rendered deficient, prejudicial
                      performance by failing to conduct appropriate legal and factual
                      research regarding the jurisdictional element of counts one, two, and
                      three, and by failing to subject the Government’s evidence relating to
                      the jurisdictional element to meaningful adversary testing.
             •        Ramos’s Trial Counsel rendered deficient, prejudicial performance by
                      failing to call an expert witness on the use of force.
             •        Ramos’s Trial Counsel rendered deficient, prejudicial performance by
                      failing to conduct appropriate legal research, request a substantially
                      correct jury instruction on Ramos’s theory of defense and by failing
                      to object to the Court’s instructions to the jury on the ground that it
                      did not contain a theory of defense instruction.
             •        Ramos’s Trial Counsel rendered deficient, prejudicial performance by

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                        failing to conduct appropriate legal research, request a substantially
                        correct jury instruction on self-defense that included apparent danger,
                        and object to the Court’s instruction to the jury on the ground that the
                        self-defense instruction failed to include apparent danger.
               •        Ramos’s Trial Counsel rendered deficient, prejudicial performance by
                        failing to conduct appropriate legal research, request substantially
                        correct jury instructions on the use of force and object to the Court’s
                        instructions to the jury on the ground that it was inaccurate and
                        insufficient.
               •        Ramos’s Trial Counsel rendered deficient, prejudicial performance by
                        failing to request appropriate limiting instructions regarding the
                        violations of four Border Patrol policies and object to the Court’s
                        instructions to the jury due to the absence of appropriate limiting
                        instructions.
               •        Ramos’s Trial Counsel rendered deficient, prejudicial performance by
                        failing to object to the Government’s improper jury arguments.


                   2.      Legal Standard

        The United States Constitution’s Sixth Amendment guarantees an accused the right to the

assistance of counsel for his defense in all criminal prosecutions.235 Moreover, “the right to

counsel is the right to the effective assistance of counsel.”236 “[I]neffective assistance claims are

ordinarily brought for the first time on collateral review because of the difficulty of compiling an

adequate record by the time of direct appeal.”237 To merit relief on an ineffective assistance of

counsel claim, a movant must demonstrate both (1) that his “counsel’s performance was

deficient,” and (2) that “the deficient performance prejudiced the defense.”238 A failure to



        235
              U.S. CONST . amend. VI.
        236
              McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970).
        237
              Gaudet, 81 F.3d at 589 n.5.
       238
           Strickland v. Washington, 466 U.S. 668, 687 (1984); see also Motley v. Collins, 18 F.3d 1223,
1226 (5th Cir. 1994) (summarizing the Strickland standard of review).

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establish either prong of this test requires a finding that counsel’s performance was

constitutionally effective.239

        The test’s performance prong centers on whether counsel’s assistance was reasonable,

considering all the circumstances at the time of counsel’s conduct.240 In order to obtain relief, a

movant must establish “that counsel made errors so serious that counsel was not functioning as

the ‘counsel’ guaranteed the defendant by the Sixth Amendment.”241 In assessing whether a

particular counsel’s performance was constitutionally deficient, “a court must indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that, under the circumstances,

the challenged action ‘might be considered sound trial strategy.’”242 A deficiency in counsel’s

performance, even if professionally unreasonable, does not equal ineffective assistance of

counsel; the movant must also demonstrate actual prejudice.243 The test’s prejudice prong

requires the movant to “show that there is a reasonable probability that, but for counsel’s



        239
            See Strickland, 466 U.S. at 687 (“Unless a defendant makes both showings, it cannot be said
that the conviction or . . . sentence resulted from a breakdown in the adversary process that renders the
result unreliable.”); Carter v. Johnson, 131 F.3d 452, 463 (5th Cir. 1997) (“Failure to prove either
deficient performance or actual prejudice is fatal to an ineffective assistance claim.”); Armstead v. Scott,
37 F.3d 202, 210 (5th Cir. 1994) (“A court need not address both components of the inquiry if the
defendant makes an insufficient showing on one.”).
        240
          See Strickland, 466 U.S. at 688 (“The proper measure of attorney performance remains simply
reasonableness under prevailing professional norms.”).
        241
              Id. at 687.
        242
              Id. at 689 (quoting Michel v. Louisiana, 350 U.S. 91, 101 (1955)).
        243
            See id. at 691-92 (“The purpose of the Sixth Amendment guarantee of counsel is to ensure
that a defendant has the assistance necessary to justify reliance on the outcome of the proceeding.
Accordingly, any deficiencies in counsel’s performance must be prejudicial to the defense in order to
constitute ineffective assistance under the Constitution.”).

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unprofessional errors, the result of the proceeding would have been different. A reasonable

probability is a probability sufficient to undermine confidence in the outcome.”244

                   3.       Failure to File a Motion to Dismiss Obstruction of Justice Counts

        Movant claims his trial counsel provided constitutionally ineffective assistance by failing

to file a motion to dismiss the two obstruction of justice counts: (1) count eight charging him

with tampering with an official proceeding by obstructing and impeding a contemporaneous

investigation surrounding the shooting, in violation of 18 U.S.C. § 1512(c)(2); and (2) count nine

charging him with tampering with an official proceeding by failing to report, contrary to his

affirmative duty, the discharge of his agency firearm, in violation of 18 U.S.C. § 1512(c)(1). He

notes the Fifth Circuit reversed the obstruction of justice convictions, ruling that the Border

Patrol’s “internal informal investigation, in its most preliminary stages, of employee violations of

an agency policy is not an ‘official proceeding’ within the meaning of § 1512(c).”245 The Fifth

Circuit cited little in the way of controlling authority. It reached its conclusion on the basis of the

statutory language. Additionally, the Fifth Circuit noted that it did “not address whether an

agency investigation may never constitute an “official proceeding.”246 Thus, at the time of trial,

there was a lack of directly controlling authority, and challenging the two obstruction counts was

not an obvious avenue of attack.247 Counsels’ “failure to divine” change in unsettled law did not


        244
              Id. at 694.
        245
              Ramos, 537 F.3d at 463.
        246
              Id. at 464 n.18.
        247
           See, e.g., United States v. Perez, 575 F.3d 164 (2nd Cir. 2009) (holding defendant’s false
statements during a use of force investigation by the Bureau of prisons were made during an “official
proceeding,”as used in 18 U.S.C. § 1512.).

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constitute ineffective assistance.248

        Movant maintains that if his trial counsel had been successful in dismissing the

obstruction counts, the evidence of his violations of Border Patrol policies would not have been

admissible, and, free from the “spillover prejudice,” he speculates that the jury’s verdict would

have been different. The referenced policies covered such matters as high-speed pursuits,

reporting firearm discharges, preserving evidence, and the use of deadly force. The Court

admitted this evidence as relevant to intent and knowledge of wrong-doing relating to Movant’s

crimes, and it repeatedly admonished the jury that it was only to consider guilt in terms of the

crimes actually charged in the indictment.249 Admittedly, evidence of Movant’s failure to report

the shooting within one hour pursuant to Border Patrol policy—and his failure to ever report the

shooting—were perhaps the strongest evidence of his guilty knowledge of the assault, and was

very strong evidence of the lack of reasonable belief that Aldrete posed an immediate threat of

serious physical harm to Movant or others. However, this evidence—and other evidence of the

violations of policies that aided in hiding and covering up Movant’s offenses—was admissible in

a trial with or without the obstruction counts.250

        The phrase “spillover prejudice” stems from a claim that a district court abused its

        248
              Sullivan v. Wainwright, 695 F.2d 1306, 1309 (11th Cir. 1983).
        249
            See United States v. Butler, 429 F.3d 140, 150 (5th Cir. 2005) (“In sum, because the . . .
policies were admitted for the limited purpose of establishing criminal intent on the part of Butler, and
because the district court issued a comprehensive limiting instruction further clarifying the purpose of
that evidence, we find no reversible error.”); United States v. Cordell, 912 F.2d 769, 777 (5th Cir. 1990)
(“Regulation J was used only to show that responsibility for the funds had shifted to ANB and that
Cordell therefore misapplied bank funds by reversing the checks. Neither Regulation J nor any other
civil regulation was referred to in the instructions to the jury. Moreover, the trial court's admonitions to
the jury regarding § 84 violations likely prevented any possible bootstrapping of this conviction.”).
        250
              Id.

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discretion in denying a motion for severance.251 “[T]o be entitled to reversal in this context ‘the

defendant must show that: (1) the joint trial prejudiced him to such an extent that the district

court could not provide adequate protection; and (2) the prejudice outweighed the government’s

interest in economy of judicial administration.’”252 At a minimum, the defendant must show that

he experienced some prejudice as a result of the joinder of invalid claims.253 In other words, the

defendant must show that otherwise inadmissible evidence was admitted to prove the invalid

counts. As discussed above, the evidence of Movant’s policy violations was admissible with or

without the obstruction counts. Moreover, where, as here, the jury is instructed of separate

crimes being charged against each defendant—and that the jury must consider each count and the

evidence pertaining to it separately—the instruction effectively cures any risk of spillover

prejudice.254

        Finally, Movant raised a related issue in his direct appeal, arguing that evidence showing

he violated a number of Border Patrol policies in pursuing and firing upon Aldrete produced a

trial in which the policies were substituted for the actual crimes charged. By so doing, according

to Movant, the Court allowed the Government to avoid the more difficult task of showing that he

had engaged in criminal conduct. The Fifth Circuit rejected this proposition.255

               Before trial, the district court explicitly prohibited the government from

        251
              United States v. Edwards, 303 F.3d 606, 639-40 (5th Cir. 2002).
        252
           Id. (quoting United States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir. 1993) (noting in this
context that “the mere presence of a spillover effect does not ordinarily warrant severance”)).
        253
              Id.
        254
              United States v. Morrow, 177 F.3d 272, 290 (5th Cir. 1999).
        255
              Ramos, 537 F.3d at 459–60.

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              making any statement implying that violation of Border Patrol policies could
              be considered illegal. And at trial, the government never suggested that
              violation of one of the policies was sufficient for conviction. Instead, the
              government only used the policies as evidence of the state of mind of the
              defendants for crimes of violence, which had no dependency on the policies
              for their definition, essence, or viability.256


Thus, Movant was “properly convicted of substantive crimes, not for violating Border Patrol

policies.”257 Movant cannot now ask the Court, or another panel of the Fifth Circuit, to change

this determination.

       Movant cannot meet his prejudice burden of demonstrating there would have been a

different trial outcome had the Court dismissed the obstruction counts prior to trial. This claim

as to constitutionally ineffective assistance of counsel is without merit.

                  4.       Failure to File a Motion to Dismiss the Non-Obstruction Counts

                           a.       Aldrete Had Fourth Amendment Rights

       Movant contends he received constitutionally ineffective assistance of counsel because

trial counsel did not file a motion to dismiss count four, the civil rights count, based on the theory

that Aldrete did not possess the Fourth Amendment right to be free from illegal seizures and the

right not to be assaulted because he lacked connections with the United States. He explains that

in United States v. Verdugo-Urquidez,258 the Supreme Court held the Fourth Amendment did not

apply to a search by United States agents of the home of a Mexican resident in Mexico. In

reaching this conclusion, the Court focused on both the extraterritoriality of the search and the

       256
             Ramos, 537 F.3d at 460.
       257
             Id. at 466.
       258
             494 U.S. 259 (1990).

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nature of the defendant’s relationship to the United States.259 Movant’s claim relies on language

from Chief Justice Rehnquist’s opinion defining “the people” protected by the Fourth

Amendment as individuals present in the United States voluntarily who had accepted some

societal obligations or developed substantial connections with this country. He asserts

Aldrete—a Mexican citizen in the United States illegally—was not among “the people,” and,

therefore, not entitled to Forth Amendment protections.

       A majority of the justices voiced disagreement with the analysis of “the people” advanced

by Chief Justice Rehnquist. Justice Kennedy, in his separate concurrence, expressly rejected the

idea that the opinion provides any authority for restricting the category of persons protected by

the Fourth Amendment.260 Justice Kennedy added that if the search had been conducted in a

residence within the United States, he had “little doubt that the full protections of the Fourth

Amendment would apply.”261 Thus, Justice Kennedy appears to have placed dispositive weight

on the extraterritoriality aspect of that case. It does not appear, therefore, that there were actually

five votes for the proposition that some individuals within the territory of the United States might

not be protected by the Fourth Amendment.

       Furthermore, in Martinez-Aguero v.Gonzalez262—a case where the plaintiff claimed that

defendant’s conduct constituted assault, battery, and false arrest, based on an altercation at the

Paso del Norte International Bridge, in El Paso, Texas—this Court denied Defendant Border


       259
             Id. at 261.
       260
             Id. at 276 (Kennedy, J., concurring).
       261
             Id. at 278.
       262
             EP-03-CA-411-KC, 2005 WL 388589 (W.D. Tex. 2005).

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Patrol Agent Gonzalez’s (“Agent Gonzalez”) motion for summary judgment on his defense of

qualified immunity. One of Agent Gonzalez’s assertions was that—based on

Verdugo-Urquidez—the plaintiff had no Fourth Amendment rights as an alien who had not yet

been admitted into the United States.263 In a detailed analysis of the Verdugo-Urquidez opinion,

this Court noted the Supreme Court’s decision did not involve the Fourth Amendment rights of

those aliens physically located either legally or illegally within United States territory, and as

such, the facts of the decision alone limited its potential relevancy. Moreover, the definition of

“the people” for purposes of applying the Fourth Amendment was not necessarily binding

authority.264 This Court explained that the history deemed relevant in Verdugo-Urquidez focused

on the purpose of the Fourth Amendment in restricting searches in domestic matters and whether

the Fourth Amendment was ever intended to apply to “aliens in foreign territory or in

international waters.”265 The emphasis of the Verdugo-Urquidez “decision therefore can be read

as less of an intent to set forth a universally applicable definition of who may properly be

characterized as ‘the people,’ and more an attempt to strike a balance between the sovereign

power of the United States to address matters international in character . . . while at the same

time not completely discounting the extra-territorial application of the Fourth Amendment.”266

Thus, “[r]ead in that limited context, the definition of “the people” set forth in Verdugo-Urquidez




       263
             Id. at *4.
       264
             Id. at *5–6.
       265
             Id. at *21.
       266
             Id. at *21 (citations and quotations omitted).

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does not appear to be excessively limiting in scope.”267 On August 4, 2006—months after

Movant’s trial—the Fifth Circuit affirmed this Court’s opinion, holding that aliens stopped at the

border have a constitutional right to be free from false imprisonment and the use of excessive

force by law enforcement personnel.268

        At the time of Movant’ trial, sixteen years after Verdugo-Urquidez, neither the Supreme

Court nor any circuit court had held that an alien—found within the United States, but without

sufficient societal obligations or substantial connections with this country—lacked the Fourth

Amendment right to be free from unreasonable seizure. Accordingly, the Court would have

denied a motion to dismiss the non-obstruction counts based on Verdugo-Urquidez. Counsel

cannot be considered ineffective for failing to file a meritless motion.269

                            b.     Agent Ramos Had Fair Warning

        Movant next contends that he received constitutionally ineffective assistance because his

trial counsel did not file a motion to dismiss the non-obstruction counts on the basis that there

was “no case remotely on point that would have afforded Ramos ‘fair warning’ that his ‘use of

deadly force’ was clearly unreasonable and therefore, within the purview of 18 U.S.C. § 242.”270



        267
              Id. at *29.
        268
              Martinez-Aguero v.Gonzalez, 459 F.3d 618 (5th Cir. 2006).
        269
            See United States v. Gibson, 55 F.3d 173, 179 (5th Cir. 1995) (“Counsel is not required by the
Sixth Amendment to file meritless motions.”); United States v. Kimler, 167 F.3d 889, 893 (5th Cir. 1999)
(“An attorney's failure to raise a meritless argument . . . cannot form the basis of a successful ineffective
assistance of counsel claim because the result of the proceeding would not have been different had the
attorney raised the issue.”); Sones v. Hargett, 61 F.3d 410, 415 n. 5 (5th Cir. 1995) (“Counsel cannot be
deficient for failing to press a frivolous point.”).
        270
              Mot. to Vacate 62.

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Movant’s arguments are based on his version of the facts surrounding the shooting which the jury

completely rejected. As the Fifth Circuit repeatedly noted, the case simply turned on a different

versions of facts.271

        Moreover, Movant raised the same “lack of fair warning” issue in his direct appeal. The

Fifth Circuit entirely rejected his argument. It determined “[t]here is little question that Ramos

was on notice that shooting an individual who posed no threat was a violation of a constitutional

right.”272 Accordingly, it was not deficient performance for Movant’s trial counsel not to raise

this issue. Moreover, since the Fifth Circuit found no error or prejudice to Movant’s substantial

rights, there was no prejudice here. Movant is not entitled to relief on this claim.

                  5.      Failure to File a Motion to Dismiss the Discharging a Firearm Count

        Movant also asserts that his trial counsel was ineffective for failing to move to dismiss

count four of the indictment which alleged he discharged a firearm in commission of a crime of

violence, in violation of 18 U.S.C. § 924(c)(1)(A). He argues his indictment was defective

because he should have been charged with “using” a firearm instead of “discharging” a firearm,

where discharge is a factor affecting a sentence.273 Movant raised this same argument in his

direct appeal and cited the same cases before the appellate court that he cites here. The Fifth

Circuit, however, found no error or plain error in the language of count four.

               Here, the term “discharge” is but a specific manner of use of the broad term

        271
            See, e.g., Ramos, 537 F.3d at 456 (“Whether the defendants were justified in shooting
Aldrete-Davila is an issue no longer in play after the jury verdict that rejected the defendants' versions of
the facts.”).
        272
              Ramos, 537 F.3d at 457 n.13.
        273
              Mot. to Vacate 64.

                                                    -55-
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              “use.” Indeed, in considering the various meanings of “use,” the Supreme
              Court interpreted that term to include, “most obviously, firing or attempting
              to fire a firearm.” Defendants have not demonstrated how employing the
              term “discharge” failed to provide notice or otherwise charge a crime. There
              is no plain error here.274


The charge in the indictment of “discharging” a firearm during and in relation to a crime of

violence, rather than “used” a firearm during and in relation to a crime of violence, did not render

the indictment fatally defective. An objection by his trial counsel on that ground at trial would

have been unavailing. Movant suffered no prejudice and his claim is without merit.

                 6.      Failure to Challenge Jurisdictional Elements of Counts One, Two, and
                         Three


       Movant next contends that his Sixth Amendment rights were violated because his trial

counsel failed to conduct appropriate factual and legal research regarding the jurisdictional

elements of counts one, two, and three, and adequately subject the Government’s jurisdictional

evidence to adversarial testing. Counts one, two, and three alleged Movant committed assaults

“within the special maritime and territorial jurisdiction of the United States.”275 “Special

maritime and territorial jurisdiction” includes “any lands reserved or acquired for the use of the

United States, and under the exclusive or concurrent jurisdiction thereof.”276 Thus, the three

counts contain a jurisdictional element, and it was the Government’s burden at trial to prove the

alleged crime occurred “within the special maritime and territorial jurisdiction of the United




       274
             Ramos, 537 F.3d at 459.
       275
             18 U.S.C.A. §113(a) (West 2011).
       276
             18 U.S.C.A. § 7(3) (West 2011).

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States.”277

        The evidence at trial showed the shooting took place on land immediately adjacent to the

United States-Mexico border in El Paso County, Texas. As Movant conceded in his motion, the

Government demonstrated that his actions took place on land that was within the federal

jurisdiction of the United States. Special Agent Christopher Sanchez testified that the incident

occurred on United States Government property which “starts at the foot of the north slope of the

levee” and “goes to the middle of [the] Rio Grande.”278 The jury was required to find this

element as to counts one, two and three. As the jury convicted Movant on all three counts, the

Government proved the jurisdictional element beyond a reasonable doubt.279 Movant did not

contest the Court’s subject matter jurisdiction at trial, and he did not raise the issue on appeal as a

“plain error.”

        In his motion, Movant fails to demonstrate directly controlling precedent—or any

precedent, for that matter—that shows his actions did not take place within the special maritime

and territorial jurisdiction of the United States. Thus, his argument is based on his conjecture

that jurisdiction is “unclear.”

        Moreover, the Secretary of State—acting through the Commissioner of the International

Boundary Commission—is formally “authorized to conduct technical and other investigations

relating to the defining, demarcation, fencing, or monumentation of the land and water boundary




        277
              Id.
        278
              24 R. 93–94.
        279
              Ramos, 537 F.3d at 446, 465–66.

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between the United States and Mexico, to flood control . . .”280 Under this authority, the United

States and Mexico entered into a convention in 1933 entitled “Rectification of the Rio

Grande.”281 The purpose of the convention was to relieve the area of flood dangers and to secure

the stabilization of the international boundary line. Lands within the demarcated area were

acquired in full ownership by the United States Government without encumbrance of any kind

and without private national titles. The land at issue falls within the rectification area mapped

out by this convention.

       Congress also gave the President authority to construct projects provided for in treaties

with Mexico, or to maintain projects already under construction.282 In constructing these

projects, the United States has entered into various agreements with individual states in the

border area. Movant mentions the Texas Natural Resources Code, Section 11.018, which cedes

land in the bed and banks of the Rio Grande River to the United States:

              (a) To facilitate the project for rectification of the Rio Grande in the El
              Paso-Juarez Valley under the convention between the United States of
              America and the United Mexican States signed February 1, 1933, without
              cost to the state, all right, title, and interest of the State of Texas in and to the
              bed and banks of the Rio Grande in El Paso County and Hudspeth County
              which may be necessary or expedient in the construction of the project is
              ceded to the United States of America.
              (b) This cession is made on the express condition that the State of Texas
              retain concurrent jurisdiction with the United States of America over every
              portion of land ceded which remains within the territorial limits of the United
              States after the project is completed so that process may be executed in the




       280
             22 U.S.C.A. 277a (West 2011).
       281
             48 Stat. 1621; TS 864; 9 Bevans 976.
       282
             22 U.S.C.A. § 277b(a).

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               same manner and with the same effect as before the cession took place.283


This Texas statute lays out the agreement it made with the United States: the border area in El

Paso County lies within the concurrent criminal jurisdiction of the United States and Texas

governments. The law as to federal jurisdiction at the Rio Grande River is not unclear. Movant

has shown neither deficient performance nor prejudice. He is not entitled to relief on this claim.

                   7.      Failure to Call a Use-of-Force Expert

        Movant alleges that his trial attorneys were ineffective for failing to call an expert witness

regarding the use of force.284 Whether an officer has used excessive force is judged by a standard

of objective reasonableness, which requires a jury to determine whether a reasonable officer in

the same circumstances would have concluded that a threat existed justifying the particular use of

force.285 “The calculus of reasonableness must embody an officer’s use of allowance for the fact

that police officers are often forced to make split-second judgments—in circumstances that are

tense, uncertain, and rapidly evolving—about the amount of force that is necessary in a particular

situation.”286 Movant claims his use-of-force expert, former Border Patrol Agent Jose Villarreal,

was available to testify and would have benefitted his cause.

        The criteria for an agent’s use of force were explained to the jury a number of times

throughout the trial. Movant’s own attorney skillfully elicited comprehensive testimony from the


        283
              See TEX . NAT . RES . CODE § 11.018 (Vernon 2011) (Acts 1977, 65th Leg. p. 2351, ch. 871, art.
I, § 1, eff. Sept. 1, 1077).
        284
              Mot. to Vacate 78.
        285
              Graham v. Connor, 490 U.S. 386, 396-97 (1989).
        286
              Id. at 97.

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Government’s witness, Supervisory Agent Richards, which provided a basis for arguing the main

points of Movant’s use-of-force defense.

           Q. Now you were talking about the firearms policy. And an agent is entitled
           to use deadly force when he reasonably believes it’s necessary to protect his
           life or the life of another or to protect himself or another from grievous bodily
           injury, correct?
           A. Or death. That is correct.
           Q. Or death. That’s right.
           And you’ll agree with me that the determination of when that type of use of
           force is appropriate is something that has to be made in an evolving
           situation—often in a split second, right?
           A. Yes, sir.
           Q. An agent is not required to wait to get shot to make sure that the object he
           thinks is being pointed at him is actually a pistol, right?
           A. That’s correct.
           Q. Okay. And the agent is entitled to take into account the totality of the
           circumstances in making that determination. Is that correct?
           A. I would think that would be reasonable.
           Q. Okay. And the fact, if any, that the—that the agent pursues somebody
           who’s refused an order to stop would be one factor he could consider,
           correct? And I’m not saying that that, by itself, would be sufficient. I’m just
           saying it’s a factor that would weigh into the balance.
           A. Yes.
           Q. The fact that the person he’s attempting to stop has been in some type of
           physical confrontation with another agent is a factor he could consider,
           correct?
           A. Could you repeat that?
           Q. Yeah. If—if an agent sees a fleeing suspect get into some kind of little
           altercation of some kind with another agent, that’s a factor he can consider
           in—
           A. Yes. Yes.
           Q. If an agent hears gunfire, that’s a factor he can consider, isn’t it?
           A. Yes.
           Q. And if an agent knows that a fellow agent has felt the need to fire his
           weapon, that’s a factor he can consider, correct?


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              A. Yes.
              Q. Okay. . . . and the fact that the person that’s fleeing is suspected of drug
              trafficking is also a factor that the agent could take into consideration?
              A. That’s correct.
              Q. And the fact that the agent is—is on the border instead of, say, in a mall
              or in downtown El Paso, is another factor that might play into his
              calculations, right?
              A. Yes, sir.
              Q. And if, in that situation an agent believes that someone is pointing a
              weapon at him, or even sees something that he can reasonably mistake for a
              weapon, it would be reasonable for him to defend himself, correct?
              A. I think I would have to walk in their shoes, sir. But yes, that could be an
              articulable fact.
              Q. And it’s hard to figure these things out after the fact sometimes, isn’t it?
              A. Yes.
              Q. The question is whether the agent has a reasonable belief, and it’s not
              ultimately whether that belief turns out to be well-founded or correct. Do you
              agree?
              A. Yes.287


Movant counters “both the first and second redirect examinations of Agent Richards by the

government . . . significantly diluted the potential impact of Mr. Peters’ . . . cross-examination of

Richards.”288 However, the Court notes Movant’s counsel was able to make the same

use-of-force arguments that could have made if Movant’s own expert had been called.

Moreover, as to the lack of prejudice, as the Fifth Circuit determined, “[f]or the most part, the

trial of this case was about credibility, and although the jury could have gone either way, it chose

not to believe the defendants’ version of the crucial events of February 17.”289 The Fifth Circuit


       287
             26 R. 263-66.
       288
             Reply 30.
       289
             Ramos, 537 F.3d at 466 (emphasis added).

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added in a footnote that “[t]he jury rejected their claim of a credible threat justifying their

actions.”290 Movant cannot demonstrate reasonable probability that—if his trial counsel had

employed an expert witness—the result of the proceeding would have been different. He is not

entitled to relief on this claim.

                    8.      Failure to Request a Theory-of-Defense Jury Instruction

        Next, in a related claim, Movant alleges that his counsel were ineffective for failing to

request jury instructions on his theory of defense and object to the Court’s instructions to the

jury. He asserts the instructions given by the Court did not encompass his theory of defense

which was that he used objectively reasonable force and acted in his own self-defense, and in the

defense of his fellow border patrol agent, based on what he reasonably believed was an actual

and apparent danger.

        On direct appeal, the Fifth Circuit determined “[t]he jury instructions did explain the law

relating to self-defense and defense of others, as well as the objective reasonableness standard

necessary for the use of force.”291 Moreover, it explained Movant was not entitled to a preferred

wording in the jury instructions.292 In sum, Movant is now arguing that even though, as the Fifth

Circuit held, the instructions were legally sufficient, were not erroneous, and adequately allowed

for his theory of defense, the instructions should have been worded more favorably to him. This

is an insufficient basis to establish a constitutional violation. Movant has not demonstrated that,

as to the jury instructions, counsels’ performance was deficient or that the deficient performance


        290
              Id. at 457 n.13.
        291
              Id. at 465
        292
              Id.

                                                  -62-
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prejudiced the defense. He is not entitled to relief on this claim.

                 9.      Failure to Request an Apparent Danger Jury Instruction

       In a very similar claim, Movant contends that his counsel was ineffective for failing to

“request a substantially correct jury instruction on self-defense that included ‘apparent danger,’

and object to the Court’s Instructions To The Jury” on the ground that the self-defense instruction

failed to include apparent danger’”293 Again, the Fifth Circuit addressed this issue in Movant’s

direct appeal:

              Lastly, the defendants argue generally that the jury instructions did not
              adequately include their theory of defense. The jury instructions did explain
              the law relating to self-defense and defense of others, as well as the objective
              reasonableness standard necessary for the use of force. These instructions
              reflected the defendants’ contention that, in firing their weapons, they were
              responding defensively to behavior by Aldrete-Davila that they perceived as
              threatening. To the extent that the defendants argue that the instructions
              could have better explicated the theory of the defense, they are not entitled to
              a preferred wording in the jury instructions. See United States v. Simmons,
              374 F.3d 313, 319 (5th Cir. 2004). And, while the instructions for the §
              924(c)(1)(A) charges do not reference a theory of defense, they do make clear
              that conviction for the predicate offenses is required for conviction under §
              924(c)(1)(A); the instructions for each of these predicate offenses, as
              discussed above, contained adequate theories of defense. See United States
              v. Natel, 812 F.2d 937, 942 (5th Cir.1987). In short, these instructions were
              not erroneous and certainly do not rise to the level of plain error.294


Thus, the instructions embraced the use of force as an appropriate response to perceived

threatening behavior. Under the instructions as given, if Aldrete appeared ready to use unlawful

deadly force against Movant or others, then Movant would have a reasonable belief that use of

force was necessary for the defense of himself or others.

       293
             Mot to Vacate 92.
       294
             Ramos, 537 F.3d at 465.

                                                   -63-
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        Movant’s counsels’ performance was not deficient, as the jury instructions did explain the

law relating to self-defense and the defense of others, as well as the objective reasonableness

standard necessary for the use of force. These instructions contemplated Movant’s contention

that, in firing his weapon, he was responding defensively to behavior by Aldrete which he

perceived as threatening. Movant has not met his heavy burden of demonstrating prejudice. He

is not entitled to relief on this claim.

                  10.     Failure to Object to Jury Instructions

        In still another related claim, Movant contends that his trial counsel was ineffective for

failing to propose different jury instructions as to the use of force and to object to the lack of their

inclusion. He further contends that it was ineffective assistance for his counsel to fail to object to

the deprivation-of-rights instruction based on (1) the Court’s definition of “willfully”; (2) the

omission of the burden of proof from the deprivation-of-rights instructions; and (3) the reference

to the reasonableness of force in a custodial situation.

        As stated in the response to the previous two claims, the Fifth Circuit determined the

instructions given by the Court were “not erroneous.”295 According to the Court of Appeals, the

instructions, as given by the Court, adequately allowed for Movant’s defensive theories.

               The jury instructions did explain the law relating to self-defense and defense
               of others, as well as the objective reasonableness standard necessary for the
               use of force. These instructions reflected the defendants’ contention that, in
               firing their weapons, they were responding defensively to behavior by
               Aldrete-Davila that they perceived as threatening. To the extent that the
               defendants argue that the instructions could have better explicated the theory
               of the defense, they are not entitled to a preferred wording in the jury



        295
              Ramos, 537 F.3d at 465.

                                                   -64-
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              instructions.296


       Further, the Court properly defined “willfully.” The Fifth Circuit’s pattern instructions

for the second element of the deprivation of rights under color of law, in violation of 18 U.S.C. §

242, provides that the jury must find “[t]hat the defendant acted willfully, that is, that the

defendant committed such act or acts with a bad purpose or evil motive, intending to deprive the

victim of that right.”297 The actual jury instructions charged that, for the second element of the

deprivation-of-rights count, the jury had to find, beyond a reasonable doubt, that Movant acted

“willfully,” that is, that he acted “with a bad purpose or evil motive,” intending to deprive the

victim of a right secured by the Constitution or laws of the United States.298 Thus, the Court’s

instruction as to the “willfully” element exactly tracked the pattern instructions. Further, the

Fifth Circuit’s opinion explained:

              [ Movant’s] complaint confuses the criminal mental state required by § 242
              with the independent reasonableness analysis related to the use of force. In
              any event, [his] argument is foreclosed by United States v. Sipe, 388 F.3d
              471, 480 & n.21 (5th Cir. 2004), in which we specifically approved of the
              instruction given here defining “willfully.”299


       In his direct appeal, Movant also argued that the burden of proof was either misplaced or

omitted from the § 242 instructions.300 The Fifth Circuit found that:




       296
             Id.
       297
             Fifth Circuit Pattern Jury Instructions (Criminal) § 2.18 (2001).
       298
             Jury Instructions at 42.
       299
             Ramos, 537 F.3d at 464.
       300
             Id.

                                                     -65-
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              The instructions, however, expressly state that the government must prove all
              elements of § 242 beyond a reasonable doubt. That the district court did not
              repeat the government's burden of proof when it gave a more detailed
              explanation of the § 242 elements does not create plain error.301


       Movant also maintained before the Fifth Circuit that “the § 242 jury instructions

constructively amended the indictment by a brief reference to the reasonableness of force that

police exercise in a custodial situation, a factual situation that was not charged in the

indictment.”302 The Fifth Circuit determined:

              This brief reference is not plain error; the defendants do not claim that their
              convictions were premised on anything other than evidence related to the
              force that may be used in self-defense or defense of another. See United
              States v. Phillips, 477 F.3d 215, 221 (5th Cir. 2007). The evidence offered
              during trial was focused solely on this issue, that is, whether use of their
              weapons was justified for their safety or the safety of others; the government
              did not try its case on any other basis than that charged in the indictment. See
              United States v. Mitchell, 484 F.3d 762, 772 (5th Cir. 2007). As a result,
              there is no plain error. See United States v. Longoria, 298 F.3d 367, 371 (5th
              Cir. 2002).303


       The Fifth Circuit concluded, “[i]n short, these instructions were not erroneous and

certainly do not rise to the level of plain error.”304 Movant was not entitled to a “preferred

wording” in the jury instructions. Objections to the deprivation-of-rights instruction—which

mirrored the Fifth Circuit pattern jury instruction—would have been unavailing. Accordingly,

Movant cannot show his counsels’ performance was deficient or that the purported deficient



       301
             Id.
       302
             Id. at 465.
       303
             Id.
       304
             Id.

                                                   -66-
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performance prejudiced his defense.

                  11.     Failure to Request Limiting Instructions on Border Patrol Policies

       Movant asserts that his trial counsel were constitutionally ineffective by failing to request

appropriate limiting instructions regarding the violations of the four Border Patrol policies and

object to the Court’s instructions to the jury due to the absence of such a limiting instruction.

Movant acknowledges that his trial counsel successfully proposed a limiting instruction for the

obstruction-of-justice counts, counts eight and nine:

              The duty to report the discharge of a firearm is a civil regulation which
              requires an employee of the U.S. Border Patrol to orally advise a supervisor
              within one hour if a firearm is discharged. The violation of this regulation
              should not be considered a violation of criminal law. You may consider,
              however evidence of violations of civil regulations as you would any other
              evidence in determining whether the defendant had the required intent to
              violate the criminal laws charged in this indictment. In other words, violation
              of a firearm discharge reporting rule should not be considered a violation of
              criminal law. You may consider this evidence, however, as you would any
              other evidence in determining whether the defendants had the required intent
              to commit any of the crimes charged in the indictment.305


Movant complains that it was ineffective assistance not to request similar instructions as to the

other counts and with regard to all policies.

       As discussed above, on direct appeal, the Fifth Circuit rejected the complaint that

evidence showing Movant violated a number of Border Patrol policies in pursuing and firing

upon Aldrete produced a trial in which the Border Patrol policies were substituted for the actual

crimes charged.306 It pointed out that evidence of policy violations covering “such matters as


       305
             Jury Instructions at 33, 35-36, 38.
       306
             Ramos, 537 F.3d at 447, 459.

                                                   -67-
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high-speed pursuits, reporting firearm discharges, preserving evidence, and the use of deadly

force” was admitted by the Court “as relevant to intent and knowledge of wrong-doing relating to

the defendants’ crimes.”307 The Fifth Circuit rejected Movant’s contention that the

Government’s constant references to and emphasis on Movant’s disregard of established policies

had the effect of allowing the policies to become the issue of conviction instead of the real

issue–whether Movant had violated substantive criminal laws.308 The Fifth Circuit explained

why the circumstances in Movant’s case prevented an error as to the misuse of civil regulations

and served to protect against prejudice:

              Before trial, the district court explicitly prohibited the government from
              making any statement implying that violation of Border Patrol policies could
              be considered illegal. And at trial, the government never suggested that
              violation of one of the policies was sufficient for conviction. Instead, the
              government only used the policies as evidence of the state of mind of the
              defendants for crimes of violence, which had no dependency on the policies
              for their definition, essence, or viability. . . .309


Additionally, “testimony in this case was elicited by the defendants to the effect that violation of

Border Patrol policies was not identical to a violation of criminal law.”310 Further, “the jury here

was not told that it had to decide whether the defendants violated the policies in order to establish

criminal culpability.”311 Finally, “[t]he district court repeatedly admonished the jury that it was




       307
             Id. at 459.
       308
             Id.
       309
             Id. at 460.
       310
             Id.
       311
             Id.

                                                 -68-
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only to consider guilt in terms of the crimes actually charged in the indictment.”312

       The precautions taken by the Court as to the regulation of evidence, the instructions as to

counts eight and nine, the jury instructions taken as a whole, and the manner in which the

evidence was received, eliminated the possibility that regulatory violations were bootstrapped

into criminal liability. As the Fifth Circuit concluded, “the defendants were properly convicted

of substantive crimes, not for violating Border Patrol policies.”313 Movant cannot show his

counsels’ performance was deficient or the purported deficient performance prejudiced his

defense. Accordingly, Movant is not entitled to relief on this claim.

                   12.     Failure to Object to Closing Argument

       In his last claimed instance of ineffective assistance of counsel, Movant asserts his trial

counsel rendered constitutionally ineffective assistance by failing to object to portions of the

government’s jury argument. He believes the prosecutor’s “good shoot” argument—that if it was

a “good shoot” Movant would have reported it—sought to convict Movant based on his failure to

report the discharge of his weapon, in violation of the policy mandating an oral report within an

hour of any shooting. Movant also argues the prosecutor’s “no weapon” argument—that because

Aldrete did not have a weapon, Movant’s shooting was not justified—deprived him of the

defense that he was responding to an apparent threat or apparent danger.

       A prosecutor is “not permitted to make an appeal to passion or prejudice calculated to




       312
             Id.
       313
             Id. at 466.

                                                -69-
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inflame the jury.”314 “A prosecutor is confined in closing argument to discussing properly

admitted evidence and any reasonable inferences or conclusions that can be drawn from that

evidence.”315

       The record shows Movant testified he thought Aldrete had a weapon. Accordingly, his

counsel argued:

              [Movant] came up on a situation where he believed that this fleeing suspect
              was in a gunfight with his fellow officer. He came to this officer’s aid. He
              believed he saw a weapon in his hand, and he took the correct step in that
              situation.316


The prosecutor acknowledged the defense argument that a shiny object in Aldrete’s hand could

have posed a threat to Movant and others. The prosecutors’s focus on the lack of evidence of an

actual weapon—based in part on a reasonable inference that Movant had a guilty state of mind

based on the evidence that he failed to report the shooting—was not improper. As the Fifth

Circuit concluded:

              For the most part, the trial of this case was about credibility, and although the
              jury could have gone either way, it chose not to believe the defendants’
              version of the crucial events of February 17. The trial of the case was
              conducted fairly and without reversible error.317


Movant has not demonstrated that his counsels’ performance was deficient or that the deficient

performance prejudiced his defense. He is not entitled to relief on this claim.


       314
             United States v. Crooks, 83 F.3d 103, 107 n.15 (5th Cir. 1996).
       315
             United States v. Vargas, 580 F.3d 274, 278 (5th Cir. 2009).
       316
             Tr. of March 6, 2006, at 38.
       317
             Ramos, 537 F.3d at 447.

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        D.         Prejudicial Spillover

        Movant “asserts that the Fifth Circuit’s failure to consider the ‘prejudicial spillover’

effect of the vacated, obstruction of justice counts . . . was ‘dead wrong’ and legally inadequate to

protect his right to due process, a meaningful appeal, and full and fair appellate review.”318 He

notes the Fifth Circuit vacated all of the obstruction-of-justice counts. He argues the “prejudicial

spillover” justified relief on the non-vacated counts.

        Movant raised the “prejudicial spillover” issue in a petition for rehearing en banc.319 The

Fifth Circuit denied the petition. “It is well settled that, absent countervailing equitable

considerations, a § 2255 movant cannot re-litigate issues raised and decided on direct appeal.320

“[I]ssues raised and disposed of in a previous appeal from an original judgment of conviction are

[generally] not considered in § 2255 Motions.”321 Movant maintains “[w]hile the Fifth Circuit

did not grant hearing en banc—and thus did not address the spillover prejudice arguments that

were in that petition for en banc rehearing—the decision not to grant en banc review was not a

ruling on the merits.”322 Assuming, arguendo, that the Fifth Circuit did not rule on the merits,

relief under § 2255 is reserved for transgressions of constitutional rights and for a narrow range

of injuries that could not have been raised on direct appeal and, if condoned, would result in a



        318
              Mot to Vacate 121.
        319
          See Fifth Circuit docket sheet No. 06-51489. (Ramos’s Petition for Rehearing En Banc, filed
August 15, 2008).
        320
              United States v. Rocha, 109 F.3d 225, 229 (5th Cir. 1997).
        321
           United States v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986) (citing United States v. Jones, 614,
F.2d 80, 82 (5th Cir.1980)).
        322
              Reply 19.

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complete miscarriage of justice.323 Accordingly, the Court will not address this issue.

         E.         Cumulative Error

         Finally, Movant argues the Court should apply “the doctrine of cumulative error . . .

because, viewing everything that occurred at trial, he was denied a fair and reliable trial, as

guaranteed by the Fifth Amendment to the Constitution of the United States.” He adds “[t]he

combined, aggregated prejudice of these errors is so significant that he is entitled to a new

trial.”324

         Here, however, there was no cumulative error as there was no error. The Fifth Circuit

specifically concluded that “the evidence fully supports the jury verdict.”325 It’s conclusion, as

the Government suggests, is worth recounting:

                For the most part, the trial of this case was about credibility, and although the
                jury could have gone either way, it chose not to believe the defendants’
                version of the crucial events of February 17. The trial of the case was
                conducted fairly and without reversible error. The exclusion of evidence
                relating to the size of the marijuana load and Aldrete-Davila’s alleged
                involvement in drug-trafficking events of October 2005 did not violate the
                defendants’ Sixth Amendment rights to present a complete defense nor did
                it deny them a proper cross-examination of a witness against them. They
                were denied no right of due process for lack of notice that § 924(c) could be
                applied to police officers while performing law enforcement duties. Nor was
                the § 924(c) indictment defective. Moreover, the defendants were properly
                convicted of substantive crimes, not for violating Border Patrol policies. In
                instructing the jury, no reversible errors were committed and, finally, the
                evidence fully supports the jury verdict. We therefore affirm the convictions
                for counts 1 through 5 and counts 11 and 12 [and reverse and vacate the



         323
               United States v. Vaughn, 955 F.2d 367, 368 (5th Cir.1992).
         324
               Mot. to Vacate 123.
         325
               Ramos, 537 F.3d at 466.

                                                      -72-
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               convictions for obstruction of justice . . . counts 6 through 10].326


IV.     EVIDENTIARY HEARING

        A motion brought under § 2255 may be denied without a hearing if the motion, files, and

records of the case conclusively show that the defendant is not entitled to relief.327 The record in

this case is adequate to dispose fully and fairly of Movant’s claims. The Court need inquire no

further on collateral review and an evidentiary hearing is not necessary.

V.      CERTIFICATE OF APPEALABILITY

        A petitioner may not appeal a final order in a habeas corpus proceeding “[u]nless a circuit

justice or judge issues a certificate of appealability.”328 Further, appellate review of a habeas

petition is limited to the issues on which a certificate of appealability is granted.329 In other

words, a certificate of appealability is granted or denied on an issue-by-issue basis, thereby

limiting appellate review solely to those issues on which a certificate of appealability is

granted.330 Although Movant has not yet filed a notice of appeal, this Court nonetheless must


        326
              Id.
        327
            Cf. United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992) (per curiam) (holding that
there was no abuse of discretion in denying a § 2255 motion without a hearing where the movant’s
assertions of ineffective assistance were wholly conclusory in nature and refuted by reference to the
record itself).
        328
              28 U.S.C.A. § 2253(c)(1)(B) (West 2011).
        329
             See Lackey v. Johnson, 116 F.3d 149, 151 (5th Cir. 1997) (holding that, in regard to the denial
of relief in habeas corpus actions, the scope of appellate review is limited to the issues on which a
certificate of appealability is granted).
        330
           See 28 U.S.C.A. § 2253(c)(3) (setting forth the narrow scope of appellate review in habeas
corpus matters); see also Lackey, 116 F.3d at 151 (holding that a certificate of appealability is granted on
an issue-by-issue basis, thereby limiting appellate review to those issues); but see United States v.
Kimler, 150 F.3d 429, 431 n.1 (5th Cir. 1998) (“We have decided, however, that the monolithic nature of

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address whether he is entitled to a certificate of appealability.331

        A certificate of appealability “may issue . . . only if the applicant has made a substantial

showing of the denial of a constitutional right.”332 In cases where a district court rejects a

petitioner’s constitutional claims on the merits, “[t]he petitioner must demonstrate that

reasonable jurists would find the district court’s assessment of the constitutional claims debatable

or wrong.”333 To warrant a grant of the certificate as to claims that the district court rejects solely

on procedural grounds, the movant must show both that “jurists of reason would find it debatable

whether the petition states a valid claim of the denial of a constitutional right and that jurists of

reason would find it debatable whether the district court was correct in its procedural ruling.”334

Here, Movant’s motion fails because he has not made a substantial showing of the denial of a

constitutional right. Accordingly, the Court finds that it should deny Movant a certificate of

appealability.



[Federal Rule of Appellate Procedure] Rule 22(b) in conjunction with Congress’s mandate for issue
specificity on collateral review embodied in 28 U.S.C. § 2253(c)(3) requires a more express request. In
order to obtain appellate review of the issues the district court refused to certify, the petitioner must first
make the threshold substantial showing of the denial of a constitutional right. See 28 U.S.C. 2253(c)(2).
Only after clearing this hurdle may the petitioner proceed to brief and we review the merits of the
rejected issues.”).
        331
            See 28 U.S.C.A. § 2255 PROC . R. 11(a) (West 2011) (“The district court must issue or deny a
certificate of appealability when it enters a final order adverse to the applicant.”); Alexander v. Johnson,
211 F.3d 895, 898 (5th Cir. 2000) (explaining that it is appropriate for a district court to address sua
sponte the issue of whether it should grant or deny a certificate of appealability, even before one is
requested).
        332
              28 U.S.C.A. § 2253(c)(2).
        333
           Slack v. McDaniel, 529 U.S. 473, 484 (2000); see also United States v. Jones, 287 F.3d 325,
329 (5th Cir. 2002) (applying Slack to a certificate of appealability determination in the context of § 2255
proceedings).
        334
              Slack, 529 U.S. at 484.

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VI.    CONCLUSION AND ORDERS

       For the reasons stated, the Court concludes that it should deny Movant’s motion and

dismiss his civil cause. The Court further concludes that Movant is not entitled to a certificate of

appealability. Accordingly, the Court enters the following orders:

       1.      All relief requested by Movant Ignacio Ramos, Jr., in his motion to vacate, set

aside, or correct a sentence pursuant to 28 U.S.C. § 2255 [ECF No. 291], and his reply to the

Government’s response [ECF No. 299], is DENIED, and his civil cause is DISMISSED WITH

PREJUDICE.

       2.      Movant Ignacio Ramos, Jr., is DENIED and evidentiary hearing.

       3.      Movant Ignacio Ramos, Jr., is DENIED a CERTIFICATE OF

APPEALABILITY.

       4.      All pending motions in this cause, if any, are DENIED AS MOOT.

       SO ORDERED.

       SIGNED on this 3rd day of January, 2012.




                                            ______________________________________
                                            KATHLEEN CARDONE
                                            UNITED STATES DISTRICT JUDGE




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